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                     Exhibit 2




                     Exhibit 2
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  ·1· · · · · · · ·UNITED STATES DISTRICT COURT

  ·2· · · · · · · · · · DISTRICT OF NEVADA

  ·3

  ·4· ·LATIA ALEXANDER,· · · · · · )
  · · ·individually as heir of· · ·)
  ·5· ·ISAIAH T. WILLIAMS and in· ·)
  · · ·her capacity as Special· · ·)
  ·6· ·Administrator of the Estate )
  · · ·of ISAIAH T. WILLIAMS,· · · )
  ·7· · · · · · · · · · · · · · · ·)
  · · · · · · · · · ·Plaintiff,· · )
  ·8· · · · · · · · · · · · · · · ·)
  · · ·vs.· · · · · · · · · · · · ·)Case No.
  ·9· · · · · · · · · · · · · · · ·)2:24-cv-00074-APG-NJK
  · · ·LAS VEGAS METROPOLITAN· · · )
  10· ·POLICE DEPARTMENT, a· · · · )
  · · ·political subdivision of the)
  11· ·State of Nevada, et al.,· · )
  · · · · · · · · · · · · · · · · ·)
  12· · · · · · · · ·Defendants.· ·)
  · · ·____________________________)
  13

  14

  15· · · · · · VIDEOTAPED DEPOSITION OF KERRY KUBLA

  16· · · · · · ·Taken on Friday, October 11, 2024

  17· · ·By a Certified Stenographer and Legal Videographer

  18· · · · · · · · · · · ·At 10:02 a.m.

  19· · · · · · · · At 400 South Seventh Street

  20· · · · · · · · · · ·Las Vegas, Nevada

  21

  22

  23· · · · · · · ·Stenographically reported by:

  24· · · · · ·Holly Larsen, NV CCR 680, CA CSR 12170

  25· · · · · · · ·Job No. 57950 - Firm No. 116F



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  ·1· ·APPEARANCES:

  ·2· ·For the Plaintiff:

  ·3· · · · · · MURPHY'S LAW, PC
  · · · · · · · BY:· CORRINE MURPHY, ESQ.
  ·4· · · · · · 2620 Regatta Drive
  · · · · · · · Suite 102
  ·5· · · · · · Las Vegas, Nevada 89128
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  ·7· ·For the Defendants:

  ·8· · · · · · MARQUIS AURBACH
  · · · · · · · BY:· CRAIG ANDERSON, ESQ.
  ·9· · · · · · 10001 Park Run Drive
  · · · · · · · Las Vegas, Nevada 89145
  10· · · · · · 702.382.0711

  11
  · · ·For the Deponent:
  12
  · · · · · · · COOK & KELESIS
  13· · · · · · BY:· GEORGE KELESIS, ESQ.
  · · · · · · · 517 South Ninth Street
  14· · · · · · Las Vegas, Nevada 89101
  · · · · · · · 702.737.7702
  15

  16· ·The Legal Videographer:

  17· · · · · · DAWN BECK

  18

  19

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  ·2· ·WITNESS· · · · · · · · · · · · · · · · · · · · PAGE

  ·3· ·KERRY KUBLA

  ·4· · · · Examination by Ms. Murphy· · · · · · · · · · 5

  ·5

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  10· ·NUMBER· · · · · · · · · · · · · · · · · · · ·PAGE

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  · · · · · · · · · · Team document
  13
  · · ·Exhibit 3· · · Diagram· · · · · · · · · · · · 128
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  ·1· · · · · · · · · P R O C E E D I N G S
  ·2· · · · · · · · · · · · · ·-oOo-
  ·3
  ·4· · · · · · · ·THE VIDEOGRAPHER:· Good morning.· We are
  ·5· ·now on the record.· This begins the video-recorded
  ·6· ·deposition of Kerry Kubla.
  ·7· · · · · · · ·Today's date is October 11, 2024.· The
  ·8· ·time on the video monitor is 10:02 a.m.· We are
  ·9· ·located at 400 South 7th Street in Las Vegas,
  10· ·Nevada.
  11· · · · · · · ·This case is entitled Latia Alexander,
  12· ·et al., versus Las Vegas Metropolitan Police
  13· ·Department, et al.· The case number is
  14· ·2:24-cv-00074-APG-NJK in the United States District
  15· ·Court, District of Nevada.
  16· · · · · · · ·My name is Dawn Beck, legal video
  17· ·specialist.· The court reporter is Holly Larsen.· We
  18· ·represent Lexitas.
  19· · · · · · · ·Will counselors please state your
  20· ·appearances.
  21· · · · · · · ·MS. MURPHY:· Good morning.· Corrine
  22· ·Murphy, Bar Number 10410, on behalf of plaintiff.
  23· · · · · · · ·MR. ANDERSON:· Craig Anderson on behalf
  24· ·of the defendants.
  25· · · · · · · ·THE VIDEOGRAPHER:· Thank you.


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  ·1· · · · · · · ·Will the court reporter please swear in
  ·2· ·the witness.
  ·3· ·Whereupon,
  ·4· · · · · · · · · · · ·KERRY KUBLA,
  ·5· ·having been first duly sworn to testify to the truth,
  ·6· ·was examined, and testified as follows:
  ·7
  ·8· · · · · · · ·MS. MURPHY:· Let the record reflect this
  ·9· ·is the time and place for the deposition of Kerry
  10· ·Kubla in the matter of Latia Alexander, et al.,
  11· ·versus Las Vegas Metropolitan Police Department,
  12· ·et al., Case Number 2:24-cv-00074.
  13
  14· · · · · · · · · · · · EXAMINATION
  15· ·BY MS. MURPHY:
  16· · · ·Q.· · · Mr. Kubla, my name is Corrine Murphy,
  17· ·and I'm an attorney.· I represent the plaintiff,
  18· ·Latia Alexander, in this case.
  19· · · · · · · ·Could you please state and spell your
  20· ·full name for the record.
  21· · · ·A.· · · It's Kerry Paul Kubla.· K-e-r-r-y
  22· ·P-a-u-l K-u-b-l-a.
  23· · · ·Q.· · · You have been requested to be here today
  24· ·to have your deposition taken.
  25· · · · · · · ·Did you have an opportunity -- have you


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  ·1· ·reviewed the notice of deposition?
  ·2· · · ·A.· · · Yes, ma'am.
  ·3· · · · · · · ·MS. MURPHY:· Okay.· Can we mark that as
  ·4· ·Exhibit 1, please.
  ·5· · · · · · · ·(Exhibit 1 marked.)
  ·6· ·BY MS. MURPHY:
  ·7· · · ·Q.· · · And you understand that you're here
  ·8· ·today to discuss the officer-involved shooting of
  ·9· ·Isaiah Williams?
  10· · · ·A.· · · Yes, ma'am.
  11· · · ·Q.· · · Have you ever given your deposition
  12· ·before?
  13· · · ·A.· · · No, ma'am.
  14· · · ·Q.· · · Okay.· I'm sure that your attorney
  15· ·walked you through the basic instructions.· The only
  16· ·one that I'm going to remind you of is that the oath
  17· ·you took at the beginning of this deposition is the
  18· ·same oath that you would take if you were in a court
  19· ·of law.· So although we're not in a formal courtroom
  20· ·with a judge, the same penalties of perjury apply.
  21· · · · · · · ·Do you understand that?
  22· · · ·A.· · · Yes, ma'am.
  23· · · ·Q.· · · Is there any reason that you would not
  24· ·be able to understand my questions and give truthful
  25· ·and accurate testimony today?


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  ·1· · · ·A.· · · No, ma'am.
  ·2· · · ·Q.· · · Do you understand that I'm entitled to
  ·3· ·your best and fullest answer to all of my questions?
  ·4· · · ·A.· · · Yes, ma'am.
  ·5· · · ·Q.· · · Are you under any medications or
  ·6· ·anything that would inhibit your ability to provide
  ·7· ·your best and truthful testimony today?
  ·8· · · ·A.· · · No, ma'am.
  ·9· · · ·Q.· · · Okay.· Can you please state your address
  10· ·for the record?
  11· · · ·A.· · · 424 Ralph Mosa Street, Las Vegas,
  12· ·Nevada 89138.
  13· · · ·Q.· · · Can you please tell me everything that
  14· ·you did to prepare for today's deposition?
  15· · · ·A.· · · Reviewed -- went over some of the stuff
  16· ·that I had prior, reviewed that.
  17· · · · · · · ·I met with Craig Anderson and just kind
  18· ·of caught up on the case itself a little.
  19· · · ·Q.· · · Okay.· And I'm not entitled to know what
  20· ·you and Craig talked about, but I am entitled to
  21· ·know how many times you met with him and for
  22· ·approximately how long.
  23· · · ·A.· · · Met once.· Maybe one to two hours, I
  24· ·believe.
  25· · · ·Q.· · · Okay.· And when was that?


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  ·1· · · ·A.· · · Just two days ago.
  ·2· · · ·Q.· · · Okay.· And you said that you reviewed
  ·3· ·the prior stuff.
  ·4· · · · · · · ·Can you tell me what that was?
  ·5· · · ·A.· · · I read over my interview, my interview
  ·6· ·from work that I had given, my CIRT interview, and
  ·7· ·just went over just the address stuff, different
  ·8· ·stuff, you know, making sure that -- it's been two
  ·9· ·years, so making sure I was up to date on that.
  10· · · ·Q.· · · And did you review your answers to
  11· ·interrogatories or your request for production of
  12· ·documents?
  13· · · ·A.· · · I'm sorry.· I don't --
  14· · · ·Q.· · · That's okay.
  15· · · ·A.· · · I'm not sure I understand.
  16· · · ·Q.· · · We use names for different stuff.
  17· · · · · · · ·So they kind of look like this.· These
  18· ·are Brice Clements', but they kind of look like
  19· ·this.· Interrogatories, requests for production.
  20· · · · · · · ·If you don't remember something --
  21· · · ·A.· · · I don't remember, ma'am.
  22· · · ·Q.· · · So that's actually a really good thing.
  23· ·I want to talk about that for a second.
  24· · · · · · · ·I want to go over briefly what the
  25· ·difference is between "I don't remember" and a


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   ·1· ·guess.
   ·2· · · · · · · ·If you really don't remember anything --
   ·3· ·look, this happened two years ago.· It's normal not
   ·4· ·to remember stuff sometimes.· Your honest answer is
   ·5· ·"I don't remember," don't tell me "no" or "I don't
   ·6· ·think so" if the answer is actually "I don't
   ·7· ·remember."· Okay?
   ·8· · · ·A.· · · Yes, ma'am.
   ·9· · · ·Q.· · · You're under oath, and if we go to trial
   10· ·we need to be able to rely on the testimony you give
   11· ·today.· So "I don't know" is an appropriate answer,
   12· ·but under no circumstances do I want you guessing.
   13· ·Okay?
   14· · · ·A.· · · Yes, ma'am.
   15· · · ·Q.· · · Would you prefer that I call you Kerry
   16· ·or Officer Kubla?
   17· · · ·A.· · · Kerry is fine, ma'am.
   18· · · ·Q.· · · Other than your own CIRT statement, did
   19· ·you read the deposition transcript of any other
   20· ·officers?
   21· · · ·A.· · · No, ma'am.
   22· · · ·Q.· · · Did you read the CIRT statements of any
   23· ·other officers?
   24· · · ·A.· · · No, ma'am.
   25· · · ·Q.· · · Did you review your body-worn camera?


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   ·1· · · ·A.· · · I have reviewed that before, ma'am, yes.
   ·2· · · ·Q.· · · Okay.· And did you review any of the
   ·3· ·other officers' body-worn camera?
   ·4· · · ·A.· · · Yes, ma'am.
   ·5· · · ·Q.· · · Okay.· And I discussed it briefly before
   ·6· ·we got on the record.· Because I don't have my
   ·7· ·computer system here with me here today we won't be
   ·8· ·reviewing the body-worn camera, but I will be asking
   ·9· ·you very specific questions about it.
   10· · · · · · · ·Before we kind of get into everything
   11· ·else, reviewing your body-worn camera -- when you
   12· ·reviewed your body-worn camera recently, two years
   13· ·past the incident, was there anything that jogged
   14· ·your memory or surprised you when you reviewed the
   15· ·video?
   16· · · ·A.· · · No, ma'am.
   17· · · ·Q.· · · Okay.· Was reviewing the video
   18· ·consistent with what you remember recounting to the
   19· ·CIRT interview two years ago?
   20· · · ·A.· · · Yes, ma'am.
   21· · · ·Q.· · · Okay.· Have you discussed this
   22· ·deposition with any of your codefendants?
   23· · · ·A.· · · No, ma'am.
   24· · · ·Q.· · · Have you discussed your deposition here
   25· ·today -- other than with Craig, have you discussed


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   ·1· ·your deposition with anyone else?
   ·2· · · ·A.· · · No, ma'am.
   ·3· · · ·Q.· · · What's your usual work schedule?
   ·4· · · ·A.· · · My normal schedule is basically 3
   ·5· ·o'clock to 12 o'clock -- or 2 o'clock to 12 o'clock.
   ·6· · · ·Q.· · · That's 2:00 p.m.?
   ·7· · · ·A.· · · Yeah.· 1400 hours to 0000.
   ·8· · · ·Q.· · · And what days?
   ·9· · · ·A.· · · My off days, my RDOs, would be Thursday,
   10· ·Friday, Saturday.
   11· · · ·Q.· · · So this is one of your off days; is that
   12· ·correct?
   13· · · ·A.· · · Yes, ma'am.
   14· · · ·Q.· · · Okay.· Now, Kerry, I'm going to ask you
   15· ·some questions about your professional background.
   16· · · · · · · ·What's your highest level of education?
   17· · · ·A.· · · Graduated high school.· I took a couple
   18· ·of classes in community college, but nothing that
   19· ·I -- just got a couple credits here and there.
   20· · · ·Q.· · · Okay.· And what community college was
   21· ·that?
   22· · · ·A.· · · Nevada, Clark County Community College.
   23· · · ·Q.· · · And what is your current position with
   24· ·Metro?
   25· · · ·A.· · · I'm a Police Officer 2, and I'm


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   ·1· ·currently working the SWAT bureau.
   ·2· · · ·Q.· · · What's SWAT bureau?
   ·3· · · ·A.· · · That would be the special weapons and
   ·4· ·tactics.· We're in the Homeland Security division.
   ·5· · · ·Q.· · · And how is that different from what you
   ·6· ·were working at the time of this incident on
   ·7· ·January 10, 2022?
   ·8· · · ·A.· · · It's the same position, ma'am.
   ·9· · · ·Q.· · · Okay.· And how long have you been in
   10· ·that position for?
   11· · · ·A.· · · I've been in that position coming up on
   12· ·six years.
   13· · · ·Q.· · · And can you kind of walk me through your
   14· ·professional background with Metro, like when you
   15· ·got hired and the different positions you held up to
   16· ·the one that you currently hold?
   17· · · ·A.· · · I hired on the department in February
   18· ·of 2008.· From there I went through the academy,
   19· ·which is a six-month academy.
   20· · · · · · · ·After that I went to patrol.· I worked
   21· ·Northeast Area Command as a patrol officer.
   22· ·Completed my field training there.
   23· · · · · · · ·Then I stayed working over there for the
   24· ·next approximately ten years.· I worked primarily on
   25· ·graveyard.· Probably 90 percent of that time was on


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   ·1· ·graveyard.
   ·2· · · · · · · ·While I was over there working, I did go
   ·3· ·into another squad, which was like a swing-shift
   ·4· ·squad, and that was on a gang enforcement team, kind
   ·5· ·of like within the detective side of it, where we
   ·6· ·did gang enforcement stuff.
   ·7· · · ·Q.· · · And how close in time from when you were
   ·8· ·working the gang enforcement to your transition over
   ·9· ·to SWAT?
   10· · · ·A.· · · It was a couple of years.· I was in a
   11· ·vehicle accident during that time, whenever I was
   12· ·assigned to that position.· I left there due to an
   13· ·injury.· Went through -- workman's comp-related.                                      I
   14· ·went through that, and I transitioned.
   15· · · · · · · ·I was at the fusion center while I was
   16· ·light duty.· So I went to the fusion center, and I
   17· ·was up there for approximately -- I would say a year
   18· ·maybe, working up there.· And then whenever I left
   19· ·there, went back to my position and started testing
   20· ·for SWAT.
   21· · · ·Q.· · · Okay.· And what drew you to SWAT?
   22· · · ·A.· · · Just something I always wanted to do.
   23· ·The comradery, the brotherhood of everybody, the
   24· ·team, working as a team together.· That was pretty
   25· ·much what I was looking for position-wise within the


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   ·1· ·department.
   ·2· · · ·Q.· · · Okay.· And so as we sit here today,
   ·3· ·you're still holding the same SWAT position that you
   ·4· ·were at the time of the incident.· And so is it fair
   ·5· ·for me to assume that you were familiar with serving
   ·6· ·these type of warrants, given that you -- sorry.
   ·7· ·Hold on.· Let me do the math.
   ·8· · · · · · · ·So at the time of this incident, you had
   ·9· ·been with SWAT for what?· Four years?· Three years?
   10· · · ·A.· · · Yes, ma'am, three years.
   11· · · ·Q.· · · Okay.· So is it fair for me to assume
   12· ·then at the time of this incident you were fairly
   13· ·familiar with serving warrants through SWAT?
   14· · · ·A.· · · Yes, ma'am.· I would say a few hundred
   15· ·at least.· I mean, we typically do 3 to 400 warrants
   16· ·a year, so it's quite active.· Now, I might not do
   17· ·all 300 to 400 because we have full-week coverage.
   18· ·But we do work a lot of time on our off days as
   19· ·well.
   20· · · ·Q.· · · So when you say 3 to 400, do you mean
   21· ·that for, like, the whole SWAT unit?
   22· · · ·A.· · · Our SWAT unit is divided into two squads
   23· ·which cover the full seven-week coverage.· We have
   24· ·one day in common.
   25· · · ·Q.· · · So your squad does 3 to 400 of these


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   ·1· ·search warrant service a year; correct?
   ·2· · · ·A.· · · No, ma'am.
   ·3· · · ·Q.· · · Sorry.
   ·4· · · ·A.· · · Our division, our section, does --
   ·5· ·basically we're one big team, and we're split into
   ·6· ·two smaller coverage teams that cover for the
   ·7· ·seven-week coverage.
   ·8· · · ·Q.· · · And why is it a seven-week coverage?
   ·9· · · ·A.· · · Just so that we have coverage throughout
   10· ·the whole Valley, throughout the whole Valley for
   11· ·the entire week.· We respond to everything, and
   12· ·we're on call 24/7.
   13· · · · · · · ·So within the unit the only time we're
   14· ·off is if we're on vacation and out of town.· Other
   15· ·than that, we're responding to different calls.
   16· · · ·Q.· · · And so at the time of this incident in
   17· ·2022, did you have the same work schedule?· The
   18· ·2:00 p.m. to 12:00 p.m. with Thursday, Friday,
   19· ·Saturday off?
   20· · · ·A.· · · I believe at that time, ma'am, we were
   21· ·3:00 to 1:00 at that time, our hours were.
   22· · · ·Q.· · · 3:00 p.m. to 1:00 a.m.?
   23· · · ·A.· · · Yes, ma'am.
   24· · · ·Q.· · · So the service of the warrant was I
   25· ·think roughly what?· 4 o'clock in the morning?


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   ·1· · · · · · · ·That would have been outside your normal
   ·2· ·work hours; correct?
   ·3· · · ·A.· · · Yeah.· It was planned for 5:00 a.m.
   ·4· · · ·Q.· · · Sorry, 5:00 a.m.?
   ·5· · · ·A.· · · Yes, ma'am.
   ·6· · · ·Q.· · · Kerry, can you tell me, what does
   ·7· ·"knock-and-announce" mean to you?
   ·8· · · ·A.· · · A knock-and-announce is a warrant where
   ·9· ·we are obligated to announce what we're there for,
   10· ·who we are, what we're there for, and make knocks on
   11· ·a door prior to making entry, giving the suspect or
   12· ·giving whoever we're serving, the residents at the
   13· ·warrant, the opportunity to come to the door.
   14· · · ·Q.· · · Okay.· And as we sit here today, was
   15· ·your understanding of what knock-and-announce meant
   16· ·the same as it was in 2022?
   17· · · ·A.· · · Yes, ma'am.
   18· · · ·Q.· · · Okay.· And so if I understand your
   19· ·testimony correctly, part of the purpose of
   20· ·knock-and-announce is to give the person or people
   21· ·on the other side of the door the opportunity to
   22· ·come answer the door; correct?
   23· · · ·A.· · · Yes, ma'am.· There's different
   24· ·mitigating factors as far as what that timeline
   25· ·would be.


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   ·1· · · ·Q.· · · If you won't mind, Kerry, if you can
   ·2· ·walk me through what those mitigating factors are.
   ·3· · · ·A.· · · It might be the -- how do I explain
   ·4· ·that?
   ·5· · · · · · · ·So one would be --
   ·6· · · ·Q.· · · Don't worry about using formal language.
   ·7· ·Just tell me like we weren't in a deposition.· Just
   ·8· ·walk me through it.· Don't worry about saying
   ·9· ·exactly the right words.· Just explain, like, from
   10· ·your point of view this is what it is.
   11· · · ·A.· · · What the normal times are traffic's been
   12· ·seen in and out of the residence.
   13· · · · · · · ·The time, what time it is, time of day
   14· ·it is.
   15· · · · · · · ·How many people are outside at the time.
   16· · · · · · · ·Officer safety issues as far as where
   17· ·we're located, if we're out in the middle someplace
   18· ·where there's no place to provide cover.
   19· · · · · · · ·Whether the subject is armed or could be
   20· ·armed inside the residence.
   21· · · · · · · ·What the subject's priors are.· What the
   22· ·crime is that we're going for.
   23· · · · · · · ·A lot of things mitigate how long we're
   24· ·going to sit out there and announce on a
   25· ·knock-and-announce.


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   ·1· · · · · · · ·It could be different types of tactical
   ·2· ·plans that we put together as far as how we're going
   ·3· ·to serve the warrant.
   ·4· · · ·Q.· · · To your knowledge, Kerry, is there any
   ·5· ·amount of time that you must wait following the
   ·6· ·knock before entering?· Like, is there a minimum
   ·7· ·amount of time?
   ·8· · · ·A.· · · It's a reasonable amount, ma'am.
   ·9· · · ·Q.· · · Can you tell me -- I know you walked
   10· ·through some of those parameters for me, Kerry.· But
   11· ·in an instance like this, although not exactly --
   12· ·I'm just going to do a hypothetical.
   13· · · · · · · ·In an instance similar to this, what
   14· ·would you consider a reasonable amount of time?
   15· · · ·A.· · · A reasonable amount of time on this one
   16· ·is going to be a lot shorter than others due to the
   17· ·fact that we were looking for homicide suspects.
   18· ·There were firearms involved.· There were multiple
   19· ·incidents involving other shootings within the
   20· ·complex where subjects were seen going towards that
   21· ·building, that apartment.
   22· · · · · · · ·It was somewhat known to be a flophouse
   23· ·for gang members that were in and out of there, and
   24· ·they were seen with guns prior.
   25· · · · · · · ·The crime was a homicide that had taken


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   ·1· ·place a couple of months prior to that where they
   ·2· ·shot and killed somebody, for the suspects that we
   ·3· ·were in question -- looking for at that residence.
   ·4· ·As well as other -- you know, there were other
   ·5· ·gang-affiliated that were in and out of that
   ·6· ·residence.
   ·7· · · ·Q.· · · Okay.· And so if I understand correctly,
   ·8· ·a lot of what you would base to be a reasonable
   ·9· ·amount of time -- either this incident or an
   10· ·incident similar to it, is because of who you
   11· ·believe to be on the other side of the door; is that
   12· ·correct?
   13· · · ·A.· · · That is a big part of it.
   14· · · · · · · ·The other thing are environmental
   15· ·factors.· So close proximity to other citizens that
   16· ·are in the area.· It could be our cover where we
   17· ·have to be at as far as for cover.
   18· · · · · · · ·On this particular search warrant was a
   19· ·controlled entry that we did on there due to the
   20· ·fact that we were unable to park armored vehicles in
   21· ·a location where we could basically contain the
   22· ·entire apartment.· That was cut off due to the fact
   23· ·that there was no way to get armor back to where
   24· ·that apartment was because of the wall that was
   25· ·around there.


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   ·1· · · · · · · ·And there were citizens that were
   ·2· ·directly above the target's residence.· Not only
   ·3· ·above them, but on the rear side, the two corners of
   ·4· ·the apartment, where a subject that was in there
   ·5· ·could very easily -- I've seen it a hundred times,
   ·6· ·where they could very easily kick through, and now
   ·7· ·we have a suspect in the neighboring apartment with
   ·8· ·citizens that are in there that it could create a
   ·9· ·hostage situation.
   10· · · · · · · ·Then there's also the -- right across
   11· ·that wall, which was about approximately a 5-foot
   12· ·block wall, cinderblock wall, with 3 feet of iron on
   13· ·top of it that you could see through, and that was a
   14· ·24-hour Arco gas station.· So the only place we
   15· ·would be able to park armor would be in that gas
   16· ·station parking lot, and you're going to have
   17· ·citizens in and out of there, in the line of fire,
   18· ·while we were out there attempting to serve that
   19· ·warrant.
   20· · · · · · · ·Along with the other side of that
   21· ·residence was basically on Nellis Boulevard, which
   22· ·was a very thorough street at that time in the
   23· ·morning.· There's going to be a lot of traffic out
   24· ·there, a lot of people walking down the sidewalk,
   25· ·which would put them approximately maybe 20 yards --


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   ·1· ·15 to 20 yards from the front of that residence and
   ·2· ·the windows of there.
   ·3· · · · · · · ·So we wouldn't be able to contain that
   ·4· ·position there.· So that obviously would take a lot
   ·5· ·longer as far as us knocking and announcing.
   ·6· · · ·Q.· · · Can you walk me through, what's the
   ·7· ·difference between -- I know that the acronym for it
   ·8· ·is "CET."
   ·9· · · · · · · ·What's the difference between a
   10· ·controlled entry tactic and a surround and callout?
   11· · · ·A.· · · So a surround and callout, I'll briefly
   12· ·explain.· We're going to surround and contain that
   13· ·structure prior to making announcements.· We're
   14· ·going to basically set up containment so we know we
   15· ·have a full perimeter around there.· Keeping access
   16· ·from the suspect being able to get out and break our
   17· ·perimeter or, like I said, break into another
   18· ·neighboring apartment.
   19· · · · · · · ·Then once we do that, we're going to
   20· ·start with announcements.· We would call the
   21· ·suspects out over our PA system and continue to make
   22· ·announcements to try and get the suspect to come
   23· ·out.
   24· · · · · · · ·If that didn't take place and they
   25· ·weren't responding, then we would use other


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   ·1· ·de-escalating factors of maybe going to a distract
   ·2· ·plan by dropping noise-flash diversionary devices,
   ·3· ·which might cause a loud noise, to kind of, like,
   ·4· ·provide a little bit more -- without doing any harm
   ·5· ·to them, but put a little more pressure on there to
   ·6· ·get them to answer.
   ·7· · · · · · · ·We would keep doing that until
   ·8· ·eventually we're going to have to go into that
   ·9· ·residence.· So we would eventually get to a point in
   10· ·time where the team leader and the -- assistant team
   11· ·leader and the team leader would make a plan to go
   12· ·up and we're either going to have to manually breach
   13· ·the door, or we might have to -- in certain
   14· ·circumstances that might turn into a semi-barricaded
   15· ·subject if we know that they're in there.· Then we
   16· ·might have to go to different options as far as
   17· ·breaching, ballistic breaching.
   18· · · ·Q.· · · Let me loop back for a second, because
   19· ·I've heard from a lot of officers the concern about
   20· ·kicking through the doors to get to people in the
   21· ·apartment.
   22· · · · · · · ·Why not just go in through the other
   23· ·apartment then?
   24· · · ·A.· · · Into the --
   25· · · ·Q.· · · Why not say to the residents, like, Hey,


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   ·1· ·we're serving a search warrant and we need to come
   ·2· ·in here and make sure -- is that a dumb -- I really
   ·3· ·don't know.· Everyone has talked about this and
   ·4· ·you're, like -- you seem to be familiar with it, so
   ·5· ·I'm going to ask you.
   ·6· · · ·A.· · · One, you probably wouldn't be
   ·7· ·comfortable with somebody coming in and ripping your
   ·8· ·walls out to go through them to get to a neighboring
   ·9· ·apartment.· They're not going to let you just come
   10· ·in and give you consent to do that.
   11· · · ·Q.· · · Sorry.· That's not what I meant.· So
   12· ·let's say -- I don't know quite how else to ask it.
   13· ·Because I've heard this answer over and over again.
   14· ·Part of the basis from your guys' point of view as
   15· ·officers in the field about what a reasonable amount
   16· ·of time is is also this concern that a suspect, if
   17· ·given too much time, can kick through an apartment
   18· ·wall and get into the other apartment of the person
   19· ·next to them.
   20· · · ·A.· · · Yes, ma'am.
   21· · · ·Q.· · · Let me ask the question more artfully.
   22· · · · · · · ·Why not when serving the search warrant,
   23· ·if it's certain the suspects may kick through the
   24· ·wall, go to the other apartment and say, Hey, we're
   25· ·serving a search warrant next door.· We're just


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   ·1· ·going to be in here to make sure nobody kicks
   ·2· ·through your door or does anything like that?
   ·3· · · · · · · ·Is that a reasonable question?
   ·4· · · ·A.· · · Yes, ma'am.· 100 percent.
   ·5· · · · · · · ·To answer that question, if we're on a
   ·6· ·barricade, we do do that.· We evacuate people in
   ·7· ·those residences to make sure there isn't a
   ·8· ·kick-through.
   ·9· · · · · · · ·On a search warrant it is a little
   10· ·different because the time of day, to be able to
   11· ·contact people.· To be honest with you, some
   12· ·citizens just aren't going to answer the door, or
   13· ·they are going to say, Hey, I'm not leaving.· I'm
   14· ·staying here.· We have that sometimes.
   15· · · · · · · ·We do make entry through those on
   16· ·certain calls.· Hostage rescues we will do that.
   17· ·We'll go through that wall to get in various entry
   18· ·points to get into that target residence.
   19· · · ·Q.· · · Just to clarify though, to your
   20· ·knowledge there's no minimum amount of time you must
   21· ·wait when executing a knock-and-announce warrant;
   22· ·correct?
   23· · · ·A.· · · Just a reasonable amount depending on
   24· ·the circumstances that are articulated.
   25· · · ·Q.· · · Okay.· Do you understand it is part of a


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   ·1· ·person's constitutional rights to have clear notice
   ·2· ·of a police officer's intent to enter?
   ·3· · · · · · · ·MR. ANDERSON:· Objection to form.
   ·4· · · · · · · ·Go ahead and answer.
   ·5· · · · · · · ·THE WITNESS:· On a no-knock warrant you
   ·6· ·would not need that.
   ·7· ·BY MS. MURPHY:
   ·8· · · ·Q.· · · Thank you for making that clarification.
   ·9· · · · · · · ·On a knock-and-announce, do you
   10· ·understand that it is part of a person's
   11· ·constitutional rights to have clear notice of a
   12· ·police officer's intent to enter?
   13· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   14· · · · · · · ·Go ahead and answer.
   15· · · · · · · ·THE WITNESS:· Yes, ma'am.
   16· ·BY MS. MURPHY:
   17· · · ·Q.· · · What is the first and most important
   18· ·constitutional right that any individual has?
   19· · · ·A.· · · Their --
   20· · · ·Q.· · · In your opinion.
   21· · · ·A.· · · Well, their freedom.
   22· · · ·Q.· · · Okay.· In performing your job as a
   23· ·police officer, do you agree with me that you have a
   24· ·duty to conduct yourself such that you do not
   25· ·violate the civil or constitutional rights of


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   ·1· ·members of the public?
   ·2· · · ·A.· · · Yes, ma'am.
   ·3· · · ·Q.· · · Do you also agree that if you see other
   ·4· ·officers violating the civil or constitutional
   ·5· ·rights of a member of the public, you have a duty to
   ·6· ·intervene and stop that officer?
   ·7· · · ·A.· · · Yes, ma'am.
   ·8· · · ·Q.· · · And we talked about it.· You just hit on
   ·9· ·it.· But what is a no-knock warrant?
   10· · · ·A.· · · A no-knock warrant would be applied for
   11· ·by the detectives.· They would apply for that.
   12· · · · · · · ·On a no-knock warrant you would need to
   13· ·have circumstances and be able to articulate the
   14· ·reasons for that.
   15· · · · · · · ·And then whenever they would apply for
   16· ·that, basically we would not need to knock and
   17· ·announce prior to making that entry.· Now, once we
   18· ·make entry, we will be announcing, This is the
   19· ·police department with a search warrant.
   20· · · · · · · ·But prior to that we could basically
   21· ·breach that door by what means we decided in our
   22· ·tactical plan, whether it be ramming the door,
   23· ·whether it be a ballistic breach, an explosive
   24· ·breach, different tactics that we would use to get
   25· ·into that residence.


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   ·1· · · · · · · ·That would be the difference between a
   ·2· ·no-knock and a knock-and-announce warrant.
   ·3· · · ·Q.· · · Okay.· And my understanding, Kerry, and
   ·4· ·you tell me if I'm right or wrong, for it to be a
   ·5· ·no-knock there's kind of some rigorous steps that
   ·6· ·the homicide detectives would have to go through to
   ·7· ·get that judicial approval; correct?
   ·8· · · ·A.· · · Yes, ma'am.· Well, that goes way above
   ·9· ·me and the detectives.· But yes, ma'am.· They would
   10· ·have to apply for that, and that would have to go
   11· ·through our department, all the way up the chain.
   12· · · ·Q.· · · So you just kind of clarified that, and
   13· ·I'm glad you did, Kerry.
   14· · · · · · · ·You just get the warrant; right?· You're
   15· ·not involved in deciding whether it's going to be
   16· ·knock or no-knock, and you're not doing what they
   17· ·call the IAP?· You're not involved in any of that;
   18· ·correct?
   19· · · ·A.· · · Correct, ma'am.
   20· · · ·Q.· · · But in this instance you did do part of
   21· ·the recon; correct?
   22· · · ·A.· · · Yes, ma'am.
   23· · · ·Q.· · · We'll get to that in a minute.
   24· · · · · · · ·Do you have any understanding about when
   25· ·a no-knock warrant would be used versus when a


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   ·1· ·knock-and-announce warrant would be used?
   ·2· · · ·A.· · · Do I have an understanding of when?
   ·3· · · ·Q.· · · Yes.
   ·4· · · ·A.· · · Yes.· I would say that the nature of the
   ·5· ·crime.· You know, the suspect's priors, what he's
   ·6· ·done before.· If there's guns involved, what the
   ·7· ·crime is.· There's a lot of mitigating factors that
   ·8· ·would reach to that for a no-knock.
   ·9· · · · · · · ·It might be just where the subject is,
   10· ·where the residence is, where we can't physically
   11· ·get, you know, to that area.· We're going to be
   12· ·basically in an open area up there, whether it might
   13· ·be -- I don't know.· There could be -- you know,
   14· ·whether it's a fatal-funnel-type thing, where
   15· ·officers are going to be standing there just in a
   16· ·long hallway with no other access, and if somebody
   17· ·was to start shooting rounds through the walls or
   18· ·come out shooting, we're just stuck in a fatal
   19· ·funnel.
   20· · · · · · · ·So there's a lot of different things
   21· ·that go into that as far as a no-knock.
   22· · · · · · · ·And then for that no-knock warrant you
   23· ·would have to justify all that and then push that
   24· ·up, and then, you know, it would have to be approved
   25· ·all the way up through the chain.


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   ·1· · · ·Q.· · · Okay.· And my understanding of this
   ·2· ·incident is that there was approval for a CET on a
   ·3· ·knock-and-announce warrant; correct?
   ·4· · · ·A.· · · Yes, ma'am.
   ·5· · · ·Q.· · · As we sit here today, are you aware of
   ·6· ·any change of policy within LVMPD that you can no
   ·7· ·longer use a CET on a knock-and-announce warrant?
   ·8· · · ·A.· · · No.· No, ma'am.· Not on a -- well, if we
   ·9· ·had a CET, it would be a no-knock warrant.
   10· · · ·Q.· · · So just to clarify, because things can
   11· ·look a little weird on paper when we read it back.
   12· · · ·A.· · · Yes.
   13· · · ·Q.· · · I just want to clarify, as we sit here
   14· ·today you understand that in order to have a CET it
   15· ·would have to be a no-knock warrant; correct?
   16· · · ·A.· · · Yes, ma'am.· Unless there was, like, an
   17· ·exigent circumstance, like, say, a hostage rescue or
   18· ·something.· We're not waiting for that prior to.
   19· ·That's exigent.
   20· · · ·Q.· · · Of course.· But here there was no
   21· ·hostage situation?
   22· · · ·A.· · · No, ma'am.
   23· · · ·Q.· · · Okay.· In your professional opinion,
   24· ·somebody who's been working on SWAT for this many
   25· ·years and have served this many warrants, do you


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   ·1· ·believe that there was a conflict between
   ·2· ·knock-and-announce and a CET?
   ·3· · · ·A.· · · During this event?
   ·4· · · ·Q.· · · In general.· I'm asking for your
   ·5· ·professional opinion.
   ·6· · · ·A.· · · I'm sorry.
   ·7· · · ·Q.· · · No.· Is there a conflict?
   ·8· · · ·A.· · · A conflict?
   ·9· · · ·Q.· · · Yeah.
   10· · · ·A.· · · No.· I think we're still -- we're still
   11· ·doing a due diligence of announcing ourselves, not
   12· ·only letting whoever's inside, but letting neighbors
   13· ·know that we're out there and we're serving a
   14· ·warrant just so they kind of know what's going on.
   15· · · · · · · ·You know, like on this very incident,
   16· ·whenever we were out there knocking and announcing,
   17· ·somebody else from a neighboring apartment stepped
   18· ·out asking, Hey, you know, we're down here.· We're
   19· ·serving a warrant down here.· Go back inside.
   20· · · · · · · ·So somebody did hear we were out there,
   21· ·which brought them to step out to see what was going
   22· ·on out there.
   23· · · ·Q.· · · And that happened in this incident?
   24· · · ·A.· · · As far as I remember, yes, ma'am.
   25· · · ·Q.· · · Okay.· Can you walk me through that?


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   ·1· · · · · · · ·All I have is the body-worn cameras, so
   ·2· ·can you walk me through that a little bit more?
   ·3· · · ·A.· · · Whenever we were on approach, going to
   ·4· ·the front door, we started announcements.· As we
   ·5· ·were making announcements, obviously there's a short
   ·6· ·timeline, but a couple announcements came out.
   ·7· ·There was a stun stick that was involved, so that
   ·8· ·went off.
   ·9· · · · · · · ·Somebody from -- I remember hearing
   10· ·somebody upstairs poking out, like out on the
   11· ·landing, to see what was going on.· And somebody
   12· ·saying, Hey, go back inside.· We're downstairs.
   13· · · ·Q.· · · Okay.
   14· · · ·A.· · · I couldn't tell you who that was.                                   I
   15· ·just remember hearing that.· I was focused on
   16· ·looking towards the door.
   17· · · ·Q.· · · And did you agree -- you had no
   18· ·involvement in the IAP; correct?
   19· · · ·A.· · · No.· Other than looking at it.· But no
   20· ·involvement with writing it or putting anything in
   21· ·there, no, ma'am.
   22· · · ·Q.· · · You weren't involved with the kind of
   23· ·multiple versions going in; correct?
   24· · · ·A.· · · No, ma'am.
   25· · · ·Q.· · · When you got the IAP and -- because you


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   ·1· ·went and did the recon for this?
   ·2· · · ·A.· · · Yes, ma'am.
   ·3· · · ·Q.· · · But when you got the IAP, were you aware
   ·4· ·of any kind of the background of it being submitted
   ·5· ·several times and different versions and that kind
   ·6· ·of thing?
   ·7· · · ·A.· · · No, ma'am.· We normally don't get
   ·8· ·something until it's vetted and it's gone through
   ·9· ·the chain back and forth.· So whatever happens on
   10· ·that end, it could take a couple minutes.· It could
   11· ·take a couple days.· It just depends on what goes
   12· ·through.· That's above our grade.· Whether it's at
   13· ·the sergeant level or the lieutenant level or even
   14· ·the captain level at that time, different things
   15· ·could be requested or asked for and different things
   16· ·done.
   17· · · · · · · ·Once we get it, it's pretty much done,
   18· ·and, you know, we're pretty much ready to serve the
   19· ·warrant, so the recon goes out to conduct the
   20· ·reconnaissance.
   21· · · ·Q.· · · We talked about the change in policy,
   22· ·but I just want to confirm.
   23· · · · · · · ·As we sit here today, LVMPD policies
   24· ·would not allow this type of warrant to be served as
   25· ·a CET; correct?


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   ·1· · · ·A.· · · I'm sorry.· Can you repeat that?
   ·2· · · ·Q.· · · Sure.· As we sit here today, based on
   ·3· ·the change of policies that we discussed earlier,
   ·4· ·LVMPD policies would not allow for this type of
   ·5· ·warrant to be served as a CET; correct?
   ·6· · · ·A.· · · Correct.
   ·7· · · ·Q.· · · So now I'm going to actually ask you
   ·8· ·about the warrant a little bit.
   ·9· · · · · · · ·Do you remember when you first became
   10· ·aware of the warrant?
   11· · · ·A.· · · It would have been the night before,
   12· ·which would have been 1/9 of '22.
   13· · · ·Q.· · · Do you have any -- I mean, I know that
   14· ·you know kind of how these come in and stuff.
   15· · · · · · · ·Do you have any independent recollection
   16· ·of that?
   17· · · ·A.· · · How it came in?
   18· · · ·Q.· · · Yeah.
   19· · · ·A.· · · The assistant team leader, who was Jake
   20· ·Werner that evening or that day, notified us that
   21· ·there was a warrant that needed to be served.· It
   22· ·was actually -- at first it was going to be a
   23· ·simultaneous warrant where we hit both residences at
   24· ·the same time related to the same crime of homicide.
   25· · · · · · · ·He needed reconnaissance officers to go


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   ·1· ·out, so he assigned myself and Brett /KOZ to 4475
   ·2· ·Jimmy Durante, and then he assigned Kai Hoskins and
   ·3· ·Mark Eshe to the 3050 South Nellis address.
   ·4· · · · · · · ·Due to the fact that this was going to
   ·5· ·be a simultaneous warrant, it ended up changing that
   ·6· ·it wasn't going to be a simultaneous; we were going
   ·7· ·to conduct a search warrant on one residence and
   ·8· ·then immediately go to the following residence.
   ·9· · · ·Q.· · · Sometimes I'm a bad interrupter.· If
   10· ·you're not done talking, just tell me.
   11· · · ·A.· · · No.· Go ahead.· I might ramble.
   12· · · ·Q.· · · That's okay.· That's okay.
   13· · · · · · · ·I thought that you had done recon on
   14· ·this 3550 [sic] South Nellis.· That's what I kind of
   15· ·took away.
   16· · · · · · · ·Did you not do any of the recon on 3550?
   17· · · ·A.· · · Maybe because I was rambling I didn't
   18· ·get to that because it took me a while.
   19· · · · · · · ·So whenever we went out to do the
   20· ·reconnaissance of both residences, we went and got
   21· ·one vehicle for us to take so we weren't going --
   22· ·because we were going to have a route from our brief
   23· ·spot to this location, from this location to the
   24· ·next.· We have to drive that route.· So we all went
   25· ·together in one vehicle.


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   ·1· · · · · · · ·So our assistant team leader, which was
   ·2· ·Jake Werner, Mark Eshe, Kai Hoskins, myself, and
   ·3· ·Brett Brosnahan all went in the same van, vehicle,
   ·4· ·drove to that location.· We pulled up to the front.
   ·5· ·Mark Eshe and Kai Hoskins exited the vehicle.· They
   ·6· ·did walk by us through the residence, did what they
   ·7· ·needed to complete their reconnaissance.
   ·8· · · · · · · ·After that we drove -- left that
   ·9· ·complex, pulled into the gas station real quick that
   10· ·was just across from there so we can kind of see
   11· ·what the front was.· Just because where that target
   12· ·residence was, it was very hard -- unless you were
   13· ·going to that apartment, there was no reason for you
   14· ·to be back there.· So it was very hard to get back
   15· ·there unless you were in that bottom apartment or
   16· ·the top apartment.· So somebody, if they seen you
   17· ·back there, they would probably wonder why you were
   18· ·back there.
   19· · · · · · · ·So we did drive around to the Arco,
   20· ·stopped at the gas station, got out.· I think
   21· ·somebody might have got out, walked inside the gas
   22· ·station, came back out.
   23· · · · · · · ·We stayed in there looking over there
   24· ·just to kind of get a rough look at it real quick.
   25· · · · · · · ·Then we left there and went to the 4475


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   ·1· ·Jimmy Durante residence.
   ·2· · · ·Q.· · · Okay.· So do you know if any of the
   ·3· ·other two officers, do you know if they went back
   ·4· ·and did more recon at 3350 South Nellis, or was that
   ·5· ·the totality of it?
   ·6· · · ·A.· · · At 3050?
   ·7· · · ·Q.· · · Yes.
   ·8· · · ·A.· · · I do not know if they went back out
   ·9· ·there or not.· I focused on the residence we did a
   10· ·reconnaissance on.
   11· · · ·Q.· · · That's kind of the -- that's kind of the
   12· ·takeaway I'm getting from your dialogue about this,
   13· ·and you tell me if I'm right or wrong, because
   14· ·sometimes I misunderstand things.
   15· · · · · · · ·You guys went out there together.· You
   16· ·were personally in the Arco, but really it was the
   17· ·other two officers that were walking around.· It was
   18· ·their task to kind of do the recon on 3350.
   19· · · · · · · ·Am I mistaken or correct on that?
   20· · · ·A.· · · Yes, ma'am.· I believe 3050, right?
   21· · · ·Q.· · · Sorry.· Am I saying 3350?
   22· · · ·A.· · · Yeah.
   23· · · ·Q.· · · Sorry.· I'll just call it South Nellis.
   24· · · ·A.· · · Perfect.
   25· · · ·Q.· · · That's easier for the court reporter.


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   ·1· · · · · · · ·So for the Nellis apartment, although
   ·2· ·you were in the car with them, you weren't actively
   ·3· ·doing recon on the Nellis apartment, were you?
   ·4· · · ·A.· · · No.· Personally, I was looking at
   ·5· ·things.· Because we're all going to be serving that
   ·6· ·warrant together.· So in my mind, I'm looking to
   ·7· ·see, okay, how far is it from here to there, what
   ·8· ·the outside surrounding areas look like.
   ·9· · · · · · · ·So I was looking, but I wasn't doing --
   10· ·like, I would normally do a thorough reconnaissance.
   11· · · · · · · ·Just because of the fact that it's more
   12· ·than likely, with the high volume of people in and
   13· ·out over there and the people that were conducting
   14· ·business, I would say, on a day-to-day operation, it
   15· ·would look very odd for four or five of us out
   16· ·walking around, strolling through this neighborhood.
   17· ·So we keep it to, depending on the circumstances and
   18· ·where we're at, as minimal as possible footprint.
   19· · · ·Q.· · · I want to make sure.· There was a lot of
   20· ·dialogue.· I'm going to cherry-pick some parts, and
   21· ·I do want to make sure I understand.
   22· · · · · · · ·As we sit here you don't know if the
   23· ·other recon officers went back and did more recon.
   24· ·Is that fair?· Or you do know?
   25· · · ·A.· · · I do not know, ma'am.


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   ·1· · · ·Q.· · · I'm sorry if I asked this and I didn't
   ·2· ·catch it -- if you answered and I didn't catch it.
   ·3· · · · · · · ·Do you know approximately how long you
   ·4· ·were there for?
   ·5· · · ·A.· · · During the reconnaissance?
   ·6· · · ·Q.· · · Yeah.
   ·7· · · ·A.· · · I would say it probably took an hour for
   ·8· ·both residences.· Probably approximately around
   ·9· ·there.· I'm not a hundred percent on that.
   10· · · ·Q.· · · And that's just on that -- sorry.
   11· · · ·A.· · · No, go ahead.
   12· · · ·Q.· · · That's just on that car trip; right?
   13· · · ·A.· · · Yes, ma'am.· Yes.
   14· · · ·Q.· · · Okay.· And having reviewed the CIRT
   15· ·report, it would appear that you guys did some
   16· ·detailed -- you tell me if I'm right or wrong -- you
   17· ·guys did some detailed recon on the Jimmy Durante
   18· ·apartment; correct?
   19· · · · · · · ·Like, you have pictures of potential
   20· ·suspects in the parking lot?· Like, you were trying
   21· ·to connect people with the Jimmy Durante apartment?
   22· ·Like, is that fair for me to say, or am I wrong?
   23· · · ·A.· · · We didn't do as thorough, I wouldn't
   24· ·say.· I mean, they are both thorough.· I won't say
   25· ·they're not thorough.


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   ·1· · · · · · · ·We probably spent less time at the Jimmy
   ·2· ·Durante residence than what we did over there just
   ·3· ·due to the fact we were going to do a surround and
   ·4· ·callout over there.· We didn't need an approach,
   ·5· ·like to walk it for an approach, to walk through
   ·6· ·there.
   ·7· · · · · · · ·But we did have intel.· The suspect
   ·8· ·vehicle was parked out there in the parking lot.
   ·9· · · ·Q.· · · I'm sorry.· When you say "in the parking
   10· ·lot," you're talking about the Jimmy Durante?
   11· · · ·A.· · · The Jimmy Durante.· It looked like -- we
   12· ·didn't have eyes on it over there, but I think
   13· ·whenever we talked to -- it might have been the
   14· ·detectives -- I can't give you exact name on that --
   15· ·they witnessed the vehicle was parked over there in
   16· ·that parking lot and it hadn't moved.· It's been
   17· ·seen over there parked in the same lot for quite a
   18· ·while.
   19· · · · · · · ·We were checking that residence because
   20· ·there were known to be a child at that residence.
   21· · · ·Q.· · · I'm sorry.· It gets a little confusing
   22· ·on paper.
   23· · · · · · · ·When you say "that residence," you're
   24· ·talking about Jimmy Durante?
   25· · · ·A.· · · Yes, ma'am.· Yes, ma'am.· Jimmy Durante.


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   ·1· · · ·Q.· · · Sorry.· Keep going.
   ·2· · · ·A.· · · So once we completed that reconnaissance
   ·3· ·of that residence, whenever we went back, there was
   ·4· ·a lot more involved with the reconnaissance.· We
   ·5· ·still do a lot of planning.· We pull up photos.· We
   ·6· ·pull up different stuff that we use to draw a plan
   ·7· ·of the residence.· So we do more of that after the
   ·8· ·reconnaissance, like afterwards.
   ·9· · · · · · · ·So that hour was just doing the drive-by
   10· ·and the walk-through, and then after that it was
   11· ·probably a couple hours at least that we went back
   12· ·and going over the planning phase of that.
   13· · · ·Q.· · · But you tell me.· You were doing that
   14· ·for Jimmy Durante, not Nellis; correct?
   15· · · ·A.· · · Yes, ma'am.
   16· · · ·Q.· · · Okay.· So in terms of what happened for
   17· ·Nellis and the other two officers, you weren't
   18· ·involved in them doing the follow-up, like, whatever
   19· ·additional information they were collecting; is that
   20· ·correct?
   21· · · ·A.· · · No, ma'am.
   22· · · ·Q.· · · That wasn't part of your task; correct?
   23· · · ·A.· · · No, ma'am.
   24· · · ·Q.· · · And so do you think -- I know that you
   25· ·did it for the Jimmy Durante one.


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   ·1· · · · · · · ·Do you think that your recon and your
   ·2· ·follow-up work to prepare for serving that warrant,
   ·3· ·do you think that that was sufficient?
   ·4· · · ·A.· · · It would have been nice to find out.
   ·5· ·Yeah.· But other than that, I think it would have
   ·6· ·been, related to where it was and parking the
   ·7· ·vehicles in there.· We had plenty of room to park
   ·8· ·two armored vehicles in front of there containing
   ·9· ·it.· We'd be able to get close enough because it was
   10· ·an open parking lot, so we could get as close as
   11· ·needed to keep suspects from exiting there and
   12· ·getting into a neighborhood apartment.· We could
   13· ·contain it on both sides of the building, contain
   14· ·both those sides.
   15· · · · · · · ·There was a child in that residence as
   16· ·well, that was known to be in there.· We had
   17· ·confirmed that.· So doing other things, like, as far
   18· ·as using a stun stick over there probably wouldn't
   19· ·have been involved over there due to that fact,
   20· ·knowing that there could be a child in there.
   21· · · · · · · ·And we could slow that one down a bit
   22· ·and go from there on that residence.· It would be
   23· ·easy to contain that fully with armor.
   24· · · ·Q.· · · I'm going to skip around a little bit,
   25· ·and I'll get into the specific -- I will also follow


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   ·1· ·up later on with the specific conclusion and the
   ·2· ·CIRT report.· But I will tell you part of it was
   ·3· ·there was essentially insufficient recon done on the
   ·4· ·Nellis apartment; that there was a lot of unknowns
   ·5· ·surrounding the Nellis apartment.
   ·6· · · · · · · ·But I want to confirm, that would not
   ·7· ·have fallen within your tasks?· That wasn't part of
   ·8· ·your duty related to the search warrant; is that
   ·9· ·correct?
   10· · · ·A.· · · Not on the -- no, ma'am, not on the
   11· ·reconnaissance.· If that was the case, I would have
   12· ·been walking it myself on that.
   13· · · · · · · ·So there's a lot of things that I
   14· ·wouldn't have picked up on that reconnaissance by
   15· ·just being in the car and being from the parking lot
   16· ·across the way.
   17· · · ·Q.· · · Okay.· So if I ask you you're part of
   18· ·the recon team, you're part of the recon team for
   19· ·the execution of this warrant but not specifically
   20· ·for the Nellis apartment?
   21· · · ·A.· · · Yes, ma'am.
   22· · · ·Q.· · · What was your understanding of the type
   23· ·of warrant this was?
   24· · · ·A.· · · What type of warrant?
   25· · · ·Q.· · · Yeah.· Like, what were they looking for?


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   ·1· · · ·A.· · · Homicide suspects.· Related to a
   ·2· ·homicide.
   ·3· · · ·Q.· · · Was this an arrest warrant?
   ·4· · · ·A.· · · It was -- for the homicide suspects in
   ·5· ·there, under my understanding is that the homicide
   ·6· ·did not have PC on arresting suspects in there.
   ·7· · · · · · · ·However, the -- and I don't want to
   ·8· ·speak out to which detectives.· I think it might
   ·9· ·have been the gang detectives, but it might not have
   10· ·been.· It might have been some other detectives.
   11· ·That they had probably cause due to the fact that
   12· ·the suspects self-incriminated them.· I think the
   13· ·stepmother had talked to them, and they incriminated
   14· ·themselves as far as what they had done.
   15· · · · · · · ·And that was done during that --
   16· ·whatever investigation that they -- that whoever it
   17· ·was that we talked to.
   18· · · · · · · ·I'm not a hundred percent, like I said
   19· ·on -- because it was so long ago and I can't
   20· ·remember who it was we spoke to as far as who the
   21· ·detective was that had that intel and information.
   22· ·So I thought that they had PC for suspects in there.
   23· · · · · · · ·Of course on our plan and everything on
   24· ·there it doesn't say PC on there, on our written
   25· ·plan.· So I'm not a hundred percent on that.


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   ·1· · · · · · · ·Now, on our written plans now we do have
   ·2· ·a PC spot on there, whether they have PC or do not
   ·3· ·have PC.
   ·4· · · ·Q.· · · On the plans, has that changed to
   ·5· ·have -- that, like, section about whether they have
   ·6· ·PC or not have PC, was that changed in the form
   ·7· ·related to this incident?
   ·8· · · ·A.· · · To be honest with you, I don't know.
   ·9· · · ·Q.· · · But there has been a change in the form;
   10· ·is that correct?
   11· · · ·A.· · · It's not a form per se.· It's -- if
   12· ·you've seen the pictures of it -- so I'm sure you've
   13· ·seen the pictures of it -- we draw that.· So some
   14· ·draw better than others.· But there's a list down
   15· ·there that we put down there for children, elderly,
   16· ·fortification, cameras, any cameras up there.
   17· ·There's a list we put up there.· Pets, dogs,
   18· ·children, that's all listed in there.
   19· · · · · · · ·Now we also add PC on there from the
   20· ·detectives as far as if they have PC or they do not
   21· ·have PC.
   22· · · ·Q.· · · Okay.· And I'm really sorry, I didn't
   23· ·bring my computer, so we're not going to be able to
   24· ·look at the body-worn cameras.· But I think maybe I
   25· ·have pictures of it.


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   ·1· · · · · · · ·Are you talking about, like, the kind of
   ·2· ·diagrams that you guys do and the drawing you did
   ·3· ·and you post up on the side of the car?
   ·4· · · ·A.· · · Yes, ma'am.· So the information page,
   ·5· ·which is the first page -- well, you wouldn't have
   ·6· ·the first page.· But the page that's usually to the
   ·7· ·left, the information page, is going to have the
   ·8· ·address of the target residence.· In this case it
   ·9· ·was two residences.· It will have an event number.
   10· ·We had an event number for this event.· We didn't
   11· ·pull an event -- I don't remember pulling an event
   12· ·for the other address because we didn't go to that
   13· ·yet.
   14· · · · · · · ·And then it has suspects listed, other
   15· ·occupants listed, and their priors, whether there's
   16· ·guns involved.· All that stuff is listed on that
   17· ·information page.
   18· · · · · · · ·And then the next intel sheet would be a
   19· ·draw of the structure, and that would go over the
   20· ·structure, surrounding area, number of windows,
   21· ·number of doors, which way the doors swing, whether
   22· ·there's fortification on there.
   23· · · · · · · ·And then the third page would be our
   24· ·tactical lineup or our entry team depending on which
   25· ·option we're going with, whether it's surround and


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   ·1· ·callout or it's an entry.· It lists operators
   ·2· ·involved on that one.
   ·3· · · ·Q.· · · Okay.· Give me just a moment.· I'm
   ·4· ·trying to find -- because I know that I've seen
   ·5· ·something like that in the CIRT report.· I'm just
   ·6· ·trying to see if we're talking about the same thing.
   ·7· · · · · · · ·Just to confirm, there's now, for lack
   ·8· ·of a better term, a little PC check box; correct?
   ·9· · · ·A.· · · Yes, ma'am.· We put PC on there.· It
   10· ·lets others know there, along with, like, K-9, for
   11· ·instance.· If we're going into a structure and we
   12· ·don't have PC for the suspect and suspect gets out
   13· ·and runs, that K-9 doesn't have PC.· Unless he can
   14· ·generate his own PC to send his dog on that person,
   15· ·whether it's because he sees a weapon, he sees
   16· ·something else, he's not going to deploy a dog on
   17· ·somebody that he doesn't have PC on.· If he has PC
   18· ·on that person, on that subject, and that person is
   19· ·out and on the go, then more than likely, depending
   20· ·on the crime, he's going to be able to utilize that
   21· ·dog as a low-lethal option.
   22· · · ·Q.· · · Okay.· Found it.· All right.
   23· · · · · · · ·So, Officer Kubla -- sorry, Kerry, I'm
   24· ·pulling out a couple of pages from the CIRT report.
   25· ·And I believe that these are what you were talking


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   ·1· ·about in terms of the plan.· So if you wouldn't mind
   ·2· ·just taking a minute and looking those over.
   ·3· · · · · · · ·Sorry.· I should have asked you what
   ·4· ·page number is that before I handed them to you.
   ·5· · · · · · · ·MR. ANDERSON:· Read the bottom Bates
   ·6· ·stamps.· LVMPD 4378.
   ·7· · · · · · · ·THE WITNESS:· 123 page of 222?
   ·8· · · · · · · ·MR. ANDERSON:· Go to this number here on
   ·9· ·the bottom right.· LVMPD --
   10· · · · · · · ·THE WITNESS:· 4377.
   11· ·BY MS. MURPHY:
   12· · · ·Q.· · · Kerry, I'll tell you -- you've probably
   13· ·seen it a little bit in this case already --
   14· ·oftentimes we end up producing thousands and
   15· ·thousands and thousands of pages of documents, and
   16· ·it gets a little confusing when we refer to the
   17· ·internal page document.· So as lawyers what we do is
   18· ·we mark all the documents with what we call Bates
   19· ·numbers.· It's that alphanumeric number down at the
   20· ·bottom.· It's like a page number for the entire
   21· ·case, for every single document that's been
   22· ·produced.· That is page 4,378.· That's what Craig
   23· ·was referring to.· We call it a Bates number.
   24· · · ·A.· · · Yes, ma'am.
   25· · · ·Q.· · · Just to get back on track though, that


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   ·1· ·is -- when you talked about the briefing -- or the
   ·2· ·thing that you now add PC to, is that what -- is
   ·3· ·that what you were talking about?
   ·4· · · ·A.· · · Yes, ma'am.
   ·5· · · ·Q.· · · Okay.
   ·6· · · ·A.· · · And to be honest, it's very hard to see
   ·7· ·on this picture.· But on the very bottom left of
   ·8· ·this picture that was taken, where it's listed on
   ·9· ·there as far as -- it's listed on there as far as
   10· ·guns, children, elderly, all that stuff is listed
   11· ·down there on the bottom left, which would be for --
   12· ·they're actually separated on here.· One side is for
   13· ·the 3050 South Nellis and the other is Jimmy
   14· ·Durante.· So there's a list for each of those
   15· ·because of the fact that there were two on this
   16· ·plan.
   17· · · ·Q.· · · Just to confirm, that's Bates 4377;
   18· ·correct?
   19· · · ·A.· · · Yes, ma'am.· LVMPD 004377.
   20· · · ·Q.· · · Yeah.· Because there's three
   21· ·different -- it's 77, 78, and 79.
   22· · · · · · · ·So the one you're talking about
   23· ·specifically is the chart that's on 4377?
   24· · · ·A.· · · Yes, ma'am.
   25· · · ·Q.· · · And I see exactly what you're talking


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   ·1· ·about.· Yeah, down at the bottom there's like --
   ·2· ·there's two stacks where there's the Nellis one
   ·3· ·and -- it is a little hard to read.· But, yeah, it
   ·4· ·says Nellis and Jimmy Durante.
   ·5· · · · · · · ·That's what you were pointing out to me;
   ·6· ·correct?
   ·7· · · ·A.· · · Yes, ma'am.
   ·8· · · ·Q.· · · So in terms of, like, kids, dogs, it's,
   ·9· ·like, all saying no, no, no, no, no, for Nellis;
   10· ·correct?
   11· · · ·A.· · · Yes.· There is a thing on there for
   12· ·guns --
   13· · · ·Q.· · · Okay.
   14· · · ·A.· · · -- listed.· But the others were listed
   15· ·as noes.
   16· · · ·Q.· · · And just -- and I want to -- based on
   17· ·your earlier testimony, the information supplied for
   18· ·all of this would come from the other two officers
   19· ·that were on the recon team because they were tasked
   20· ·with Nellis; correct?
   21· · · ·A.· · · Yes, ma'am.· I mean, we would all kind
   22· ·of have an understanding of that a little bit from
   23· ·reading the warrant and what's going on and talking,
   24· ·hearing from the detectives.· So, like, I might have
   25· ·heard the detectives say one thing over another.


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   ·1· · · · · · · ·The gun I knew because of the warrant,
   ·2· ·reading the warrant, that there was a small-framed
   ·3· ·handgun that was involved.
   ·4· · · · · · · ·And then there was also related -- that
   ·5· ·wasn't just in here, but there was also a related
   ·6· ·call where the -- I want to say -- sorry.· Corvell
   ·7· ·had priors for the firearms, prohibited person
   ·8· ·firearm.· And he also had -- I want to say Rembert?
   ·9· ·Is it Rembert?· Rembert was stopped prior in a
   10· ·vehicle, and he had what appeared to be -- not a
   11· ·hundred percent, but it was either an MP5 or a
   12· ·short-barrel pistol -- rifle, like AR-style rifle,
   13· ·and a handgun that he was stopped with on a previous
   14· ·stop.· So he was known to have weapons as well.
   15· · · ·Q.· · · As we sit here today, other than the
   16· ·phone call with the aunt or the grandma -- I can't
   17· ·remember if it was aunt or grandma -- like over a
   18· ·month before, to your awareness, other than that
   19· ·comment, were you aware if it was ever confirmed
   20· ·that Corvell or Rembert -- I always get them
   21· ·confused --
   22· · · ·A.· · · It's Fisher and Rembert.
   23· · · ·Q.· · · Yeah, Fisher and Rembert.
   24· · · · · · · ·To your knowledge, were they ever, like,
   25· ·associated with this apartment?


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   ·1· · · ·A.· · · Just the stepmother that had stated that
   ·2· ·they were in and out over here and it was a
   ·3· ·flophouse.
   ·4· · · · · · · ·And to be honest, I can't remember if
   ·5· ·there was anything else in there in the follow-up or
   ·6· ·if the detectives had sighted them over there or
   ·7· ·seen them over there or if there might have been a
   ·8· ·car related over there.· I can't go on record to say
   ·9· ·a hundred percent, but I thought that the vehicle
   10· ·that he was stopped in came from that area, that he
   11· ·was stopped with the firearms in.
   12· · · ·Q.· · · Okay.
   13· · · ·A.· · · And that was due to a relationship, I
   14· ·think, because of the shooting that took place in
   15· ·there where multiple subjects were seen running to
   16· ·that apartment.
   17· · · ·Q.· · · Okay.· If I understand your earlier
   18· ·testimony, just to clarify, the chart on page 4377,
   19· ·now there is a little section that's added, like PC;
   20· ·is that correct?
   21· · · ·A.· · · Yes.· In that list that we normally put
   22· ·on there we'll add PC on there.· We will check and
   23· ·confirm with the detectives, the detectives that are
   24· ·there, just in case something changed from the time
   25· ·that the warrant came up or whatever the case was.


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   ·1· ·Or if they had PC, if they're arresting them, not
   ·2· ·arresting them.
   ·3· · · · · · · ·We don't actually do the arresting.· We
   ·4· ·detain the suspects or subjects that are inside.· We
   ·5· ·detain everybody that's in there, and then we hand
   ·6· ·them off to the detectives and they do their
   ·7· ·investigation as far as what they're going to follow
   ·8· ·up with.
   ·9· · · ·Q.· · · And so I just want to make sure I
   10· ·understand.
   11· · · · · · · ·In terms of this incident, your
   12· ·understanding was they didn't have PC for the
   13· ·homicide they were executing the property search
   14· ·warrant for, but they did have PC from other
   15· ·investigations to arrest the suspects, had they been
   16· ·present?
   17· · · ·A.· · · Yes, ma'am.· That was my understanding.
   18· · · ·Q.· · · So was this an arrest warrant, or was it
   19· ·a search warrant for property, or both?
   20· · · ·A.· · · The search warrant was for the evidence
   21· ·and the property of the --
   22· · · ·Q.· · · But the intent was also to arrest the
   23· ·suspects; is that correct?
   24· · · ·A.· · · Yes, ma'am.
   25· · · ·Q.· · · I'm going to ask you to hand that to the


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   ·1· ·court reporter, because she's actually going to mark
   ·2· ·that as Exhibit 2.
   ·3· · · · · · · ·(Exhibit 2 marked.)
   ·4· ·BY MS. MURPHY:
   ·5· · · ·Q.· · · Kerry, turning to page 4378, can you
   ·6· ·tell me what that's a photo of?
   ·7· · · ·A.· · · This one would be a photo of the Nellis
   ·8· ·address, 3050 South Nellis.
   ·9· · · ·Q.· · · And then the next page, 4379?
   10· · · ·A.· · · 4379, that would be the -- our entry and
   11· ·lineup team, our officer page, which has all the
   12· ·officers listed in there involved, what the vehicle
   13· ·package is, the entry line formation.· All that
   14· ·stuff is listed on that one.
   15· · · · · · · ·And there's -- there might be -- I don't
   16· ·know if there's another picture or if this --
   17· ·there's somewhat of a picture of the Jimmy Durante
   18· ·residence just to the right in this picture.· It
   19· ·doesn't show the whole thing, but there's partial of
   20· ·that in there.
   21· · · · · · · ·The actual target to that Jimmy Durante
   22· ·would be on the southwest corner of that Building 6
   23· ·that's in the bottom of this picture, which is not
   24· ·in this photo.
   25· · · ·Q.· · · I'll represent to you, I don't think


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   ·1· ·that they took a picture of that one too, because
   ·2· ·that warrant was never served.
   ·3· · · · · · · ·So do you know who makes these drawings?
   ·4· · · ·A.· · · I don't want to admit to it, but, yeah,
   ·5· ·we make the drawings.
   ·6· · · ·Q.· · · Listen, the handwriting is much nicer
   ·7· ·than mine.
   ·8· · · · · · · ·On this instance did you do these
   ·9· ·charts, or do you know who did them?
   10· · · ·A.· · · No.· The officer lineup will be done by
   11· ·Jake Werner, who is assistant team leader.· He would
   12· ·have done the draw -- the planning phase for that
   13· ·and issued all the assignments for all the officers
   14· ·involved, between him and the team leader or the
   15· ·sergeant that night.
   16· · · · · · · ·And the information page and the draw of
   17· ·the residence would be done by the reconnaissance
   18· ·officers.
   19· · · ·Q.· · · And so you were part of the -- well, you
   20· ·were part of the recon, so did you provide the
   21· ·information for the -- did you do the Jimmy Durante
   22· ·part?
   23· · · ·A.· · · Yes, ma'am.
   24· · · ·Q.· · · Okay.· On the first page.
   25· · · · · · · ·But you didn't do the Nellis part;


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   ·1· ·correct?
   ·2· · · ·A.· · · No, ma'am.
   ·3· · · · · · · ·MS. MURPHY:· We've been going for a
   ·4· ·little while, going for about an hour.
   ·5· · · · · · · ·THE VIDEOGRAPHER:· We are going off
   ·6· ·record at 11:00 a.m.
   ·7· · · · · · · ·(A break was taken.)
   ·8· · · · · · · ·THE VIDEOGRAPHER:· We are back on record
   ·9· ·at 11:11 a.m.
   10· ·BY MS. MURPHY:
   11· · · ·Q.· · · Kerry, we took a brief break, but just
   12· ·to confirm, although we have taken a break, the oath
   13· ·that you took at the beginning of the deposition
   14· ·still applies.
   15· · · · · · · ·Do you understand that?
   16· · · ·A.· · · Yes, ma'am.
   17· · · ·Q.· · · Okay.· On break I saw you talking to
   18· ·Craig.· Did you call anyone or talk to anyone else
   19· ·while on break?
   20· · · ·A.· · · No, ma'am.· My phone was in here,
   21· ·actually.
   22· · · ·Q.· · · So we've gone over the photos that you
   23· ·had at the briefing.
   24· · · · · · · ·As we sit here today, I know that you've
   25· ·read your own CIRT statement.· Have you read the


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   ·1· ·actual CIRT report itself?
   ·2· · · · · · · ·And it's C-I-R-T.
   ·3· · · ·A.· · · I did go over that briefly just to go
   ·4· ·over it, yes.
   ·5· · · ·Q.· · · What parts -- listen.· It's 222 pages.
   ·6· ·What parts did you go over?
   ·7· · · ·A.· · · Yes.· I didn't go over the whole page of
   ·8· ·everything in there, no, ma'am.
   ·9· · · ·Q.· · · Did you read the conclusions?
   10· · · ·A.· · · I went through some of those, yes, I
   11· ·did.
   12· · · ·Q.· · · And I'll ask you specifically about --
   13· ·I'll ask you specifically about some of the
   14· ·conclusions later.
   15· · · · · · · ·When you did go through the conclusions,
   16· ·were there any that you were surprised by or
   17· ·disagreed with?
   18· · · ·A.· · · Not that I could remember, no.
   19· · · ·Q.· · · Do you remember that -- do you remember
   20· ·any of the conclusions addressing that there was
   21· ·actually a series of unknown facts about the Nellis
   22· ·apartment?
   23· · · ·A.· · · Yes, briefly.· And I wasn't sure if that
   24· ·was stuff that wasn't -- I don't know if it wasn't
   25· ·put in the warrant itself, but it was talked about


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   ·1· ·amongst detectives and information from there. I
   ·2· ·don't know if that was --
   ·3· · · ·Q.· · · Sorry, not about the -- not about the
   ·4· ·warrant.· But when I say unknowns about the
   ·5· ·apartment, like, although we looked over that photo
   ·6· ·earlier that had all the items listed, like dogs,
   ·7· ·no; kids, no, in fact, that stuff wasn't -- one of
   ·8· ·the conclusions that CIRT came to was that that
   ·9· ·stuff wasn't known; that there was insufficient
   10· ·recon.
   11· · · · · · · ·So I guess I'm asking you, did you
   12· ·review any part of that conclusion in the CIRT
   13· ·report, or were you aware of that?
   14· · · ·A.· · · Just that it said about the recon
   15· ·being -- however they worded it, whether it was
   16· ·insufficient or -- yes, I did see that.
   17· · · ·Q.· · · Okay.· And do you have any thoughts on
   18· ·that?
   19· · · ·A.· · · Some of the stuff in there I don't think
   20· ·you're going to be able to know.· If there's not,
   21· ·you know, power set in somebody's name, if there's
   22· ·not different things, you know, utilities in
   23· ·somebody's name, I don't think anybody is going to
   24· ·know, unless you have surveillance on a residence
   25· ·24 hours a day, if somebody's in there, not in


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   ·1· ·there.· Some of the stuff, you know, you can find
   ·2· ·out during a reconnaissance, but other things we
   ·3· ·don't have, you know, days and days to perform this,
   ·4· ·so there's some stuff that's not going to be able to
   ·5· ·get on there.· But I'm not sure what all findings
   ·6· ·there were that weren't, you know, found to be in
   ·7· ·there.
   ·8· · · ·Q.· · · So is it my understanding, based on the
   ·9· ·comments you just made, that you think it's not
   10· ·possible to have all that information before serving
   11· ·a search warrant?
   12· · · ·A.· · · I think some of the stuff could be done
   13· ·by detectives.· Yes, they could spend more time out
   14· ·there.· They could do more follow-up stuff and do
   15· ·that prior to applying for the search warrant.· So I
   16· ·think some of that stuff can be dug up.· You can dig
   17· ·into that stuff a lot more.
   18· · · · · · · ·I don't think that we have the ability
   19· ·as SWAT operators conducting a recon of a residence
   20· ·to be able to put in that much seat time, which
   21· ·would be applicable or more for the detectives to
   22· ·do, just due to the fact we have a very limited
   23· ·amount of time prior to that and then whenever the
   24· ·warrant is going to be served.
   25· · · ·Q.· · · I think I know, but tell me, what does


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   ·1· ·"seat time" mean?
   ·2· · · ·A.· · · Like being out there, for instance.
   ·3· ·Being able to go out there and set, you know,
   ·4· ·surveillance on a residence for hours throughout the
   ·5· ·night to see patterns of life, different stuff like
   ·6· ·that.· We don't have that in our unit.
   ·7· · · · · · · ·Detectives might have that.· I'm not
   ·8· ·saying that they do have that time, but we really
   ·9· ·don't have time to set on a place and put in that
   10· ·amount of time to basically get a lot of that
   11· ·patterns of life and contacting, you know, different
   12· ·areas, whether it be schools to find out if there's
   13· ·kids related to the target residence.
   14· · · ·Q.· · · So do you think the CIRT conclusion
   15· ·places an unfair burden or unrealistic expectation
   16· ·of what the SWAT recon can know before serving a
   17· ·search warrant?
   18· · · · · · · ·MR. ANDERSON:· Object to form.
   19· · · · · · · ·Go ahead and answer.
   20· · · · · · · ·THE WITNESS:· I don't know exactly what
   21· ·they had issues with.· So if it was specifically
   22· ·certain things, there's certain things we can get,
   23· ·certain things that we -- I would say that we can't
   24· ·get.
   25· · · · · · · ·I've been to residences before where,


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   ·1· ·for instance, a door, like a target residence, it's
   ·2· ·very hard or we're not going to go up to a target
   ·3· ·residence door to see what that door is made out of.
   ·4· · · · · · · ·We can -- some residences we can see by
   ·5· ·looking at from a distance.· We can check other
   ·6· ·doors throughout the complex.· Whenever I perform
   ·7· ·reconnaissance, I take a magnet with me and I check
   ·8· ·doorframes and doors to other apartments throughout
   ·9· ·the complex, because I'm not going to get -- I'm not
   10· ·going to, you know, be noticed by the suspect or
   11· ·whoever is in that target because I'm at a different
   12· ·apartment.
   13· · · · · · · ·So we can check others to do that.· But
   14· ·to go up to the actual target residence would be
   15· ·very, very hard to do, and you're jeopardizing, you
   16· ·know, losing everything as far as the mission and
   17· ·compromising that we're out there by doing that.
   18· ·BY MS. MURPHY:
   19· · · ·Q.· · · So you kind of alluded to it, and I
   20· ·wanted to make sure.
   21· · · · · · · ·The door here, you know there was an
   22· ·issue with the door here; correct?
   23· · · ·A.· · · Yes, ma'am.
   24· · · ·Q.· · · And what's your understanding of what
   25· ·the issue with the door was?


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   ·1· · · ·A.· · · The issue -- well, the main issue with
   ·2· ·it was there was a brass wrap on the door.· The
   ·3· ·brass wrap, if you were able to get up there and get
   ·4· ·good eyes on the door, you would see there's a brass
   ·5· ·wrap on there.· Not saying that a brass-wrapped door
   ·6· ·is impenetrable.· However, it is going to be a
   ·7· ·little bit harder to breach than a door that doesn't
   ·8· ·have a brass wrap, because it's keeping that locking
   ·9· ·mechanism from bending or deforming because of that
   10· ·wrap that wraps around the locking mechanism.
   11· · · · · · · ·Now, if that was a wooden frame, with a
   12· ·brass wrap on a wood-framed door, more than likely
   13· ·the wood frame -- it is not very hard to snap a wood
   14· ·frame, and that wood frame is going to be
   15· ·compromised prior to that door being compromised.
   16· · · · · · · ·So that would have something that
   17· ·obviously was missed or obviously would be missed in
   18· ·there, so I see that being an issue.· Because you
   19· ·should be able to get by that and get a closer look
   20· ·just by walking by, without actually going up to the
   21· ·door and being able to see that.
   22· · · · · · · ·And that would -- I'm not going to say a
   23· ·hundred percent it would change the plan, but you
   24· ·would know that that door is going to be a little
   25· ·bit stouter.· So it might take an extra hit on the


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   ·1· ·door.· It might take a ballistic breach of -- using
   ·2· ·a ballistic round from a shot clock prior to hitting
   ·3· ·the door.· It could be using an explosive breach on
   ·4· ·the door.· Different options that we would have.
   ·5· · · · · · · ·We would still have to get those,
   ·6· ·basically, options approved by going up through our
   ·7· ·chain, but different options that we would have that
   ·8· ·we could throw out there.
   ·9· · · · · · · ·So not having that information, that
   10· ·could have changed things.
   11· · · ·Q.· · · Okay.· But it wasn't your responsibility
   12· ·to determine something like -- it wasn't part of
   13· ·your recon assignment to determine what kind of door
   14· ·it was or if there was a brass wrap; correct?
   15· · · ·A.· · · Correct, ma'am.
   16· · · ·Q.· · · Okay.· And -- okay.· And so let's kind
   17· ·of get into the incident itself.
   18· · · · · · · ·And so, Kerry, I know that you were the
   19· ·first one through the door.· If any of this
   20· ·testimony is difficult for you to get through and
   21· ·you want to take a break, you just tell me.· We can
   22· ·take a break.· If it's fine for you to just power
   23· ·through, that's good.· But if you feel at any point
   24· ·in time like, Hey, this is a little difficult for me
   25· ·to talk about.· I want to take a break.· You just


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   ·1· ·tell me.· Okay?
   ·2· · · ·A.· · · Yes, ma'am.
   ·3· · · ·Q.· · · We looked at it briefly.· We looked at
   ·4· ·the photos -- or the drawings from Sam's Town.
   ·5· · · · · · · ·Can you kind of walk me -- and I know
   ·6· ·that you -- I'm assuming it's fresh in your memory
   ·7· ·because you recently watched the video; correct?
   ·8· · · ·A.· · · Yes, ma'am.
   ·9· · · ·Q.· · · So if you can kind of walk me through
   10· ·your dialogue of, okay, you arrive at Sam's Town,
   11· ·and then what happens?
   12· · · ·A.· · · So I left my house in my work truck,
   13· ·arrived over there at Sam's Town to start putting up
   14· ·the papers and get everything ready.· So I got there
   15· ·a little bit early from whenever the actual brief
   16· ·was, due to the fact I was a reconnaissance officer.
   17· · · · · · · ·Got over there for the address 4475
   18· ·Jimmy Durante, but I was a part of that plan.
   19· ·Whenever I was over there, I ended up getting a
   20· ·detective car and driving Officer Adam and Sergeant
   21· ·Clarkson at the time, I drove them both by both
   22· ·residences, because one was going to be a sniper or
   23· ·a Sierra unit, so he was going to need to see that
   24· ·target and see what would be the best location for
   25· ·him, so he went with me.· And Sergeant Clarkson was


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   ·1· ·driving one of the BearCats on the Jimmy Durante
   ·2· ·target, so he was going to be driving one of the
   ·3· ·BearCats over there to that -- actually, he drove
   ·4· ·for the 3050 actually also.· So I drove him by so he
   ·5· ·knew the route going in there, so he wasn't confused
   ·6· ·with it, and he's actually seen where he's supposed
   ·7· ·to land at with the vehicle and going over all that
   ·8· ·stuff with them.· So I drove them by real quick to
   ·9· ·do that in the morning.
   10· · · · · · · ·We conducted the briefing of the ATL.
   11· ·Assistant Team Leader Jake Werner conducted the
   12· ·briefing.· Went over that.
   13· · · · · · · ·And I believe that one of the detectives
   14· ·was asked to talk about the -- basically the warrant
   15· ·a little bit, because some officers that --
   16· ·obviously you might have K-9 there.· They don't
   17· ·know -- they haven't seen the warrant.· They don't
   18· ·know anything about it.· So it gives them an
   19· ·opportunity to just briefly go over what this is
   20· ·for.· It's for a homicide due to the fact that a
   21· ·couple months ago, I believe it was in November, two
   22· ·suspects shot and killed somebody who ended up dying
   23· ·at the bus stop.· Well, he left the bus stop, but he
   24· ·ended up dying from that.
   25· · · · · · · ·They briefly go over that with them, and


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   ·1· ·then we go over the planning phase as far as the
   ·2· ·assistant team leader goes over the plan and what
   ·3· ·everybody's duties are throughout the plan.
   ·4· · · · · · · ·Once that's done, then we basically
   ·5· ·kitted up, but we got all of our gear on.
   ·6· · · ·Q.· · · If it's called "kitted up," that's fine.
   ·7· · · ·A.· · · We put all our gear on, whether it be
   ·8· ·our vests, our helmets, all the equipment we needed.
   ·9· ·We do that.· We get everything done.
   10· · · · · · · ·Meet back at our location -- not our
   11· ·location, but meet back at the vehicle package that
   12· ·we're driving over there.· Then we basically load
   13· ·onto the vehicle the way we're supposed to, because
   14· ·everybody has got a certain position on there.· Then
   15· ·we drive over to the target residence location.
   16· · · · · · · ·Keep going through everything?
   17· · · ·Q.· · · Yeah.· If you're good with keeping
   18· ·going, keep on going.
   19· · · ·A.· · · So we get to the target location.· We
   20· ·unload off the BearCat, and the other vehicles get
   21· ·in their positions.· We get into a double-stacked
   22· ·formation.· We had an entry line on one side, who
   23· ·consisted of Jasper Williams -- I'm sorry -- Jasper
   24· ·Washington, who was in front of me.· He was on a
   25· ·shield, which was going to lead up.· I was going to


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   ·1· ·be number-one entry behind him.· He was going to
   ·2· ·shield going up there.· And then the lineup went
   ·3· ·from there back.
   ·4· · · · · · · ·I'd have to look at the list to be a
   ·5· ·hundred percent.· I know it was Jasper, myself, it
   ·6· ·was Brice Clements, and then back -- from there back
   ·7· ·it might have got a little bit -- I'm not a hundred
   ·8· ·percent on that.· I'd have to look at that.
   ·9· · · · · · · ·On the right side there was two takedown
   10· ·officers that were leading up over there, which was
   11· ·Brett Brosnahan and Blake Dixon.
   12· · · · · · · ·There was also a floor side containment
   13· ·that was going over there for the window on the
   14· ·other side where the stun stick was being deployed,
   15· ·which would have been Officer Rothenburg and Officer
   16· ·Bertuccini.· Officer Rothenburg had a shield, the
   17· ·shield up as well.
   18· · · · · · · ·So we make our approach up to the
   19· ·apartment.· We go down the sidewalk that's going to
   20· ·it.· We come around the corner, wrap the corner.
   21· ·Once we get to that corner wrap, the other guys get
   22· ·set over in their position.· We're set at that
   23· ·point.
   24· · · · · · · ·Sergeant Russ Backman called out and
   25· ·gave the announcements.· The plan was to give out


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   ·1· ·two announcements, and then the stun stick was to --
   ·2· ·supposed to give out two full announcements of the
   ·3· ·residence, and after the full two announcements,
   ·4· ·then we were going to -- was going to go off with a
   ·5· ·stun stick, and the breach was going to go off of
   ·6· ·that.
   ·7· · · ·Q.· · · I understand that's the plan.· Tell me
   ·8· ·what actually happened.
   ·9· · · ·A.· · · So we came over there.· As soon as we
   10· ·landed in that position, Jasper Washington was there
   11· ·with the shield.· Announcements came out giving who
   12· ·we were, we were there for the search warrant.
   13· ·Those announcements came out.
   14· · · · · · · ·Jasper Washington moved up to -- he
   15· ·shielded the window that was just to the right,
   16· ·which would have been to the east of the door that
   17· ·was facing west.· So he shielded that window.· Kai
   18· ·Hoskins, who was on the breach team, which was in
   19· ·that other stack that was to the right, he moved up
   20· ·with the ram.· He moved up to basically key the door
   21· ·or hit the door with the ram.
   22· · · · · · · ·So once he got to the front door, I was
   23· ·basically held back, so I'm approximately
   24· ·probably -- if I had to guess, probably 6 feet,
   25· ·7 feet away from the front door, giving him room to


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   ·1· ·get up there.· He went up there, and the stun stick
   ·2· ·was inserted.
   ·3· · · · · · · ·Stun stick went off, which was one --
   ·4· ·the stun stick is a noise-flash diversionary device
   ·5· ·which was attached to a rake that was inserted
   ·6· ·through the window.· Whenever they inserted that
   ·7· ·through the window, rendered the area clear in
   ·8· ·there, then they initiated that.
   ·9· · · · · · · ·Kai Hoskins stepped up to start
   10· ·breaching the door.· He hit the door.· The plan
   11· ·was -- in the details before, the plan was going to
   12· ·be he was going to hit the door.· If he called for a
   13· ·shock to come up, then Officer Hancock, Levi
   14· ·Hancock, would step up.· He had a shot clock, which
   15· ·is like a small shotgun, issues compressed copper.
   16· ·He would go up there and hit the locking mechanism
   17· ·to try and soften that up.· If that softened it up,
   18· ·he stepped out, he was able to get the door open and
   19· ·we still had time on our side, then we would make
   20· ·entry into the residence.
   21· · · · · · · ·So Kai hit the door a couple times.                                     I
   22· ·think he hit it on the third time.· It started to --
   23· ·I could see from where I was that whenever he hit it
   24· ·I could see, like, a little bit of light through the
   25· ·edge of the door, so I knew it was starting to


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   ·1· ·become compromised.· So in my mind, I was thinking
   ·2· ·he was going to have more likely another hit, one
   ·3· ·hit at the most, to open up the door.
   ·4· · · · · · · ·He hit the door.· At this time, whenever
   ·5· ·he was hitting the door, the other, which was -- it
   ·6· ·was another noise.· A flash-bang, basically, that
   ·7· ·was going off, which is a nine-bang.· So those go
   ·8· ·off for approximately a half second to a second.
   ·9· ·One that is -- over the stun stick it's delayed
   10· ·approximately a second to a second and a half,
   11· ·delayed on whenever it goes off, whenever they
   12· ·deploy it.· So you have that second and a half that
   13· ·that goes off.· Then about every half to a second
   14· ·after that -- they're not a hundred percent at that
   15· ·time, it could be three-quarters, whatever, but it's
   16· ·a half to a second -- there's nine bangs that go on.
   17· ·So the first one, then there's eight additional.
   18· ·They just randomly keep going consistently.· So
   19· ·those were going off at the same time as Kai was --
   20· ·as Hoskins was attempting to breach the door.
   21· · · · · · · ·So whenever the door finally -- I seen
   22· ·it come open, and then he just -- on the last one
   23· ·just kind of gave it a push to open it because it
   24· ·didn't fling open.
   25· · · · · · · ·Because of the fact that the flash-bangs


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   ·1· ·were still going off that were still over there, in
   ·2· ·my mind we had adequate -- we still had somewhat of
   ·3· ·a diversionary device that was drawing -- anybody in
   ·4· ·there, it was drawing their attention to what was
   ·5· ·going on out there.· So attempted to make entry.
   ·6· · · · · · · ·With the attempt, I made entry,
   ·7· ·seeing -- through the threshold of the door I could
   ·8· ·see down the hallway, which was dark in there.
   ·9· ·Obviously I had a light, so I illuminated the light
   10· ·on my rifle going in.
   11· · · · · · · ·As I wrapped into the door, my
   12· ·unknown -- which the door opened up right to left.
   13· ·My unknown corner would have been the corner to the
   14· ·right.
   15· · · · · · · ·So as I stepped in, I started to turn to
   16· ·the right.· There was a couch that was up against
   17· ·the wall that protruded out into the room, so that
   18· ·kind of stopped me from going down that wall to
   19· ·clear that corner all the way.· So whenever I came
   20· ·in and hit that, I noticed that I was being engaged.
   21· ·I was getting hit with -- hard to explain.                                 I
   22· ·couldn't feel, like, pain.· I could just -- it was
   23· ·almost like, I would say, a ghost smacking, like, my
   24· ·arms and my rifle, like, out of my hand.· So I was
   25· ·trying to engage, but it was kind of like it was


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   ·1· ·getting moved around.· So I couldn't, like, get on
   ·2· ·target.
   ·3· · · · · · · ·So I kept pushing just past the couch,
   ·4· ·which extended probably, if I had to guess, maybe
   ·5· ·6 feet maybe.· It continued that way.· It was kind
   ·6· ·of like -- the shape of the couch was kind of like
   ·7· ·an L-shape-type.
   ·8· · · · · · · ·So as I pushed to the end of that, I was
   ·9· ·just -- I could tell that gunshots were going off at
   10· ·this point.
   11· · · · · · · ·Being inside, there's a lot different
   12· ·sound than, like, flash-bangs going on outside.
   13· ·It's a lot different.
   14· · · ·Q.· · · How is it different?
   15· · · ·A.· · · Well, if I dropped a firecracker right
   16· ·here, you're probably going to -- you could probably
   17· ·compare that.· It would sound different than if I
   18· ·dropped one outside that door.
   19· · · · · · · ·I could tell these were coming from
   20· ·inside the residence.· They were basically shots.                                      I
   21· ·could also see flashes coming from what -- I
   22· ·couldn't -- I could see somebody curled up on a
   23· ·couch over there facing that way, and I could see
   24· ·flashes, a muzzle flash as the shots were coming
   25· ·off.


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   ·1· · · · · · · ·So once I got over there to the edge of
   ·2· ·the couch, obviously I was pushed in far enough the
   ·3· ·other operators behind me, the rest of the team, or
   ·4· ·partial of the team -- not everybody, but partial,
   ·5· ·the rest of the team that were making entry, they
   ·6· ·realized the same thing, that shots were coming from
   ·7· ·that location, so they started engaging from
   ·8· ·behind -- not from behind me, but from towards the
   ·9· ·opening of the door from where I was, because I kind
   10· ·of paralleled along that couch.
   11· · · · · · · ·Once I got over to the edge of the
   12· ·couch, I came to a stop position, like to a
   13· ·stationary position, and attempted to -- I was
   14· ·thinking in my mind that I was trying to shoot
   15· ·whenever I was moving across there, but, again, like
   16· ·I said, my mind is telling me to shoot, but I
   17· ·couldn't, like -- nothing was working, basically.
   18· · · · · · · ·So whenever I got to the edge of the
   19· ·couch, I got a stationary position, same thing, I
   20· ·could see shots going; I can see flashes coming out
   21· ·of the barrel.· I was like, Hey, address this.· You
   22· ·know, raise my rifle.
   23· · · · · · · ·Well, I couldn't see -- my rifle wasn't
   24· ·coming up.· So I looked down, and my arm was
   25· ·basically -- it was flopped like a fish, so it was


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   ·1· ·hanging down.· Because a shot had went through
   ·2· ·there, broke the bone.
   ·3· · · · · · · ·So I took my forearm and kind of put it
   ·4· ·under my rifle and lifted my rifle up to shoot, and
   ·5· ·then right like immediately after that something
   ·6· ·dropped me to my knees.
   ·7· · · · · · · ·So I think at that point I took a shot
   ·8· ·in my leg, which dropped me down.· So I dropped down
   ·9· ·on my hands and knees.
   10· · · · · · · ·Once I dropped down to my hands and my
   11· ·knees, stuff was still going on.· And then
   12· ·eventually I heard -- obviously somebody yelled out
   13· ·"Tactical."· That was reverb'd a couple of times by
   14· ·other officers yelling out, "Tactical, tactical."
   15· · · · · · · ·Which on a tactical call, whenever we're
   16· ·going in, we stop where we're at and hold position
   17· ·and kind of slow everything down and go from there,
   18· ·do what we need to do.
   19· · · · · · · ·So rather than -- typically, if we were
   20· ·making a CET, we would have bodies go to this room,
   21· ·bodies go to this room, bodies go down the hall, go
   22· ·to this room, go to this room.· We would flood the
   23· ·apartment, and literally -- an apartment that size,
   24· ·because it was so small, probably in, I would say,
   25· ·eight seconds probably you'd have operators in every


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   ·1· ·single room in there.
   ·2· · · · · · · ·So a tactical call was called.· I yelled
   ·3· ·out that I was hit, and somebody started to drag me,
   ·4· ·because -- I can't remember who it was -- it might
   ·5· ·have been Levi Hancock saying, "Hey, drag him out.
   ·6· ·Drag him out."
   ·7· · · · · · · ·So somebody grabbed me from behind me,
   ·8· ·and I was on my hands -- well, my knees and my hand.
   ·9· ·My rifle was, like, laying down, but my hand was --
   10· ·it was kind of like my nub was on the ground.
   11· · · · · · · ·Somebody grabbed my vest, started
   12· ·pulling to pull me towards the door.· Well, as he's
   13· ·pulling me, I'm trying to, like, hobble, and I'm
   14· ·200 pounds, and with my vest I'm probably 250, so he
   15· ·wasn't very easily dragging me, but I was kind of,
   16· ·like, shuffling along.· I was like, "Hey, just stand
   17· ·me up, stand me up."
   18· · · · · · · ·At that point Jiyair Brown was there.
   19· ·He helped lift me, got me back to my feet.· Then we
   20· ·walked out through the door, went back to the
   21· ·BearCat.
   22· · · · · · · ·Once we got back to the BearCat, then
   23· ·we -- got me back there, asked where I was hit.                                     I
   24· ·told him I was hit in my right arm, hit in my left
   25· ·arm.· Well, I told him I was hit in my left arm


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   ·1· ·because I could see it was broke.· Told him I could
   ·2· ·feel pressure in my right arm, my right arm was hit,
   ·3· ·and then my leg was hit.
   ·4· · · · · · · ·They basically got back to the BearCat
   ·5· ·where medical was at, started pulling off
   ·6· ·everything, ripping stuff off, applying tourniquets,
   ·7· ·put all the tourniquet stuff on, did all that.
   ·8· · · · · · · ·And then I think whenever they were
   ·9· ·putting the tourniquet on my leg, whenever they were
   10· ·applying that, that might have -- either that or the
   11· ·difference of going from standing to going down to
   12· ·laying down, one or the other, blood issues or
   13· ·whatever, but I passed out for a minute there.
   14· · · · · · · ·And then basically after that I was back
   15· ·up, came to.· Medical was already staged in the
   16· ·complex because they roll out with us.· So they were
   17· ·staged just to the south of us, at the front of the
   18· ·complex, at the front office.· So they backed up,
   19· ·AMR backed up, loaded me onto the AMR unit, and then
   20· ·we left there, from there, left to UMC.
   21· · · ·Q.· · · So I'm going to go back and kind of --
   22· ·I'm going to go back and kind of parcel that up a
   23· ·little bit.
   24· · · ·A.· · · Uh-huh.
   25· · · ·Q.· · · So you were number one in the stack;


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   ·1· ·correct?
   ·2· · · ·A.· · · I was number one entry going into the
   ·3· ·residence.
   ·4· · · ·Q.· · · Yeah.
   ·5· · · ·A.· · · Jasper was in front of me initially.
   ·6· ·Yes, ma'am.
   ·7· · · ·Q.· · · Correct.· Because Jasper was the one
   ·8· ·that breached the door; correct?
   ·9· · · ·A.· · · No.· Jasper Washington had a shield.· He
   10· ·was going to shield the window to the left of the
   11· ·door, to provide cover for -- if anybody was looking
   12· ·out that window, to provide cover for the team and
   13· ·then for Kai Hoskins, who was basically breaching
   14· ·the door.
   15· · · · · · · ·So he stepped over to there, which was,
   16· ·in my lineup, like my entry, he was just in front of
   17· ·me.· I was right behind him.
   18· · · · · · · ·Then on the other side would have been
   19· ·the first two, Brosnahan and Blake Dixon, would
   20· ·have -- because they were takedown.· Nobody was out
   21· ·there to take down, so they would have stepped out.
   22· · · · · · · ·Then immediately behind them, I
   23· ·believe -- I'd have to look at the lineup, but I
   24· ·believe Kai Hoskins and Levi Hancock were behind
   25· ·them, and that would leave room for Kai Hoskins to


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   ·1· ·come up -- after the announcements were given, he
   ·2· ·would come up and then breach the door.
   ·3· · · ·Q.· · · Just to confirm though, you were the
   ·4· ·first guy through the door, but you weren't
   ·5· ·breaching the door; correct?
   ·6· · · ·A.· · · Correct.
   ·7· · · ·Q.· · · You understand that -- we talked a
   ·8· ·little about it before, the brass wrap.
   ·9· · · · · · · ·Do you remember seeing -- strike that.
   10· · · · · · · ·When you approached the door, the brass
   11· ·wrap was physically -- you could see it; correct?
   12· · · ·A.· · · I did not notice it, to be honest with
   13· ·you, whenever I was up there, no.
   14· · · ·Q.· · · Okay.· And so it's talked about quite a
   15· ·bit in the CIRT report.· What's a "tactical"?· You
   16· ·talked about it a little bit in your dialogue, but
   17· ·just to confirm, what's a "tactical"?
   18· · · ·A.· · · On a CET entry, the only thing that
   19· ·stopped us from going in there was we have a
   20· ·tactical call.· That can be made by anybody.
   21· ·Whether -- anybody in the lineup that's going in,
   22· ·whether it is something is taking too long, whether
   23· ·we have -- overwhelmed with, like, say the structure
   24· ·is too big, we run out of bodies and now we're at a
   25· ·stalemate where we don't have bodies to fill the


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   ·1· ·rest of the rooms.· We might see somebody that comes
   ·2· ·out and runs.· If we see anybody running in there,
   ·3· ·we call a tactical, because we're not going to chase
   ·4· ·somebody into an unknown room that they're running
   ·5· ·into, in case they're either going in there to fight
   ·6· ·or going in there to arm themselves.· So we are not
   ·7· ·going to run in there at that point.· We'll call
   ·8· ·tactical, go back to the front door, use a shield
   ·9· ·there, and then slow it down at that point into --
   10· ·at that point it would be like a breach and hold.
   11· · · · · · · ·So that tactical call can be called by
   12· ·anybody that is in there depending on what they see
   13· ·the need to call it for.· Whenever that person calls
   14· ·it, he would give out the reason for it.· So it
   15· ·might be, "Tactical, Tactical," and, "I seen a guy
   16· ·running down the hallway to a back bedroom."
   17· · · · · · · ·Everybody else relays that and starts
   18· ·saying "Tactical, Tactical" so it's heard throughout
   19· ·everybody that's in the lineup, the entry team and
   20· ·also people on the outside, so they're all aware of
   21· ·that.
   22· · · ·Q.· · · In this case was the entry taking too
   23· ·long?
   24· · · ·A.· · · I don't feel -- myself, I don't feel
   25· ·that we lost that -- that, I would say, surprise, or


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   ·1· ·maybe that overwhelming action, due to the fact that
   ·2· ·we still had -- those flash-bangs were still going
   ·3· ·out there.
   ·4· · · · · · · ·So to me, I felt the plan was that if we
   ·5· ·went up there and Kai hit the door, if he called for
   ·6· ·a shock and a shock came up, that shock would have
   ·7· ·to come up, introduce a couple of rounds into that
   ·8· ·lock, fall back, and if the door still came open, we
   ·9· ·would still be good to go on a CET, to still make
   10· ·that entry.
   11· · · · · · · ·In my mind, that extra hit on the door
   12· ·was going to be less time than having him step up,
   13· ·shock that door, step back out, and then him step up
   14· ·to hit the door again.
   15· · · ·Q.· · · But you could have also then called a
   16· ·tactical?· It wouldn't necessarily have been to do
   17· ·an explosive breach through the door; you guys could
   18· ·have also just retreated; right?· And then retreated
   19· ·and then done a surround and callout; correct?
   20· · · ·A.· · · We could have.· We would have had to
   21· ·pull back all the way off the structure and down the
   22· ·side.· We couldn't stay up there and have eyes on
   23· ·the door.· I mean, we could, but ...
   24· · · ·Q.· · · Is the purpose of the flash-bang to
   25· ·disorient and confuse?


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   ·1· · · ·A.· · · Well, it's a noise-flash diversionary
   ·2· ·device.· Basically it's something that's flashing
   ·3· ·on.· If something went off outside this window, I
   ·4· ·am -- everybody in here is going to focus their
   ·5· ·attention over here.· So if they're focused over
   ·6· ·there and we're coming in over there, that gives a
   ·7· ·perfect distraction.· That's one of the things, why
   ·8· ·it's called a distract, is because it's going to
   ·9· ·divert their attention to something else as we're
   10· ·coming in over here, which is also going to put that
   11· ·back on our side as far as having that going off
   12· ·over there.
   13· · · · · · · ·We wouldn't necessarily -- we wouldn't
   14· ·drop and do a distract outside the front door unless
   15· ·it was a surround and callout because we don't want
   16· ·to draw attention to where we are making entry at.
   17· ·So that's why it is put on another location, to draw
   18· ·somebody's attention to that.· It might be a back
   19· ·bedroom window that's towards the back of the
   20· ·residence, to get their attention out there.· It
   21· ·might be -- just to take their attention away from
   22· ·where we're coming in at.
   23· · · ·Q.· · · In this instance it was put through a
   24· ·window that was right next to where Mr. Williams
   25· ·was; correct?


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   ·1· · · ·A.· · · Ultimately, yes.· Unknown that he was
   ·2· ·going to be in that room.· But it ended up, yes,
   ·3· ·being in that room is where that first one was
   ·4· ·deployed.· Which was the first distract.· It's one
   ·5· ·bang.· That's inserted, it's pushed up to the
   ·6· ·ceiling, so it's against the ceiling up there, and
   ·7· ·it's flashed off in a high corner of a room.
   ·8· · · · · · · ·That's where we train putting it is in
   ·9· ·the high corner of the room where somebody -- the
   10· ·most likelihood, nobody is going to be up in that
   11· ·corner, up in a room up there, and it's
   12· ·approximately -- I'd say 8 feet or the height of the
   13· ·ceiling is where it is up there.
   14· · · · · · · ·It's also attached to that pole so it
   15· ·doesn't come down, it doesn't land on the ground, it
   16· ·doesn't emit any flash or anything that can cause
   17· ·fire, because it's up away from everything, up by
   18· ·the corner of the wall.
   19· · · · · · · ·And then the additional, the nine-bang
   20· ·flash-bang that was going off outside, was another
   21· ·distraction that was diverting attention outside of
   22· ·that side of the house, which would have been where
   23· ·the sliding door was that might have been related --
   24· ·the sliding door and the other window that was out
   25· ·there, that was outside.


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   ·1· · · ·Q.· · · But the purpose of these devices, the
   ·2· ·nine-bang or the other one, it's also to disorient
   ·3· ·whoever's inside the apartment; correct?
   ·4· · · ·A.· · · Yeah.· I would say it's going to
   ·5· ·disorient you, yes.
   ·6· · · ·Q.· · · And, Kerry, when you talked a little bit
   ·7· ·earlier about kind of coming through the residence
   ·8· ·and, you know, what was going on with your arm and
   ·9· ·how you felt you were being hit by a ghost, is it
   10· ·fair for me to say that it took you a few seconds to
   11· ·figure out what was going on?
   12· · · ·A.· · · It took -- I mean, I would say we're
   13· ·talking like a second to realize.· I mean, literally
   14· ·within one to two steps of going through that
   15· ·threshold, the doorway.· It wasn't like I entered a
   16· ·room and went all the way across the room.· It was
   17· ·literally within one to two steps that I was -- I
   18· ·knew I was getting engaged by something over there.
   19· ·And then I could -- like I said, I could see that
   20· ·the flashes were going.· I just couldn't address
   21· ·that.· I was trying to address it, but I couldn't
   22· ·address it at that point.· I kept moving across
   23· ·there, across the couch, another probably maybe
   24· ·4 more feet to get to the edge of that, to get to
   25· ·the edge of the couch.


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   ·1· · · ·Q.· · · And your ability even within one or two
   ·2· ·steps, which is a few seconds, like, that's also
   ·3· ·based on your years and years and years of training
   ·4· ·as a SWAT officer; correct?
   ·5· · · ·A.· · · As far as how far I went, or --
   ·6· · · ·Q.· · · No.· As far as how long it took you to
   ·7· ·assess what was going on inside the apartment.
   ·8· · · ·A.· · · Well, whenever we make an entry on a
   ·9· ·CET, it's a very dynamic entry into the -- into the
   10· ·threshold.· So whenever you're making that move in
   11· ·through the threshold, it's very dynamic in nature.
   12· ·We're moving very fast.
   13· · · · · · · ·And then we are moving -- from there
   14· ·we're moving at a pace that we can fire from.· So we
   15· ·train that we can shoot as we're moving.· Obviously
   16· ·you can only move so fast whenever you're doing
   17· ·that.· But you're not -- you're not just a walking
   18· ·pace.· It's a little bit faster than a walking pace
   19· ·going through there.
   20· · · ·Q.· · · So my question was a little bit
   21· ·different.· You kind of hit on it a little bit.· But
   22· ·part of your ability to walk in, to assess, to
   23· ·figure out, to respond, that's also based on your
   24· ·years of training as a SWAT officer; correct?
   25· · · ·A.· · · Yes, ma'am.


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   ·1· · · ·Q.· · · And you would agree with me that you
   ·2· ·have SWAT training and ability to respond that is
   ·3· ·far in excess of what a normal person would have;
   ·4· ·correct?
   ·5· · · ·A.· · · Yes.· 100 percent.
   ·6· · · ·Q.· · · Okay.· And just to kind of loop back
   ·7· ·again, we talked about it a little bit before, but,
   ·8· ·again, part of the -- you talked about the
   ·9· ·diversionary element of these devices.· But, again,
   10· ·it is also to disorient and confuse; correct?
   11· · · ·A.· · · Yes.
   12· · · ·Q.· · · So that you can overwhelm them; correct?
   13· · · ·A.· · · Yes.
   14· · · ·Q.· · · Do you think that the delay in getting
   15· ·through the door caused essentially a failure to
   16· ·overwhelm and instead just disoriented and confused?
   17· · · ·A.· · · I think it would have given us more time
   18· ·to get through the door.· Obviously if we didn't
   19· ·have those going off and the door was still getting
   20· ·hit multiple times and there was nothing else,
   21· ·somebody might have been coming to the door at that
   22· ·point.
   23· · · · · · · ·I think it could disorient somebody in
   24· ·there.· I mean, it is -- you know, it's a loud
   25· ·audible in there.· Outside it's not quite as loud


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   ·1· ·because it's outside the residence.
   ·2· · · · · · · ·But that's what they're designed for is
   ·3· ·to disorient and ...
   ·4· · · ·Q.· · · Kerry, I'm going to read you a section
   ·5· ·of the CIRT report.· And it says, "If after
   ·6· ·notice" -- it talks about the legal elements for
   ·7· ·knock-and-announce.· And it says, "If after notice
   ·8· ·of his authority and purpose an officer is refused
   ·9· ·admittance."· It talks about kind of like what the
   10· ·purpose of what knock-and-announce is.
   11· · · · · · · ·Can you tell me what Mr. Williams did to
   12· ·refuse admittance while the door was closed?
   13· · · ·A.· · · While the door was closed?
   14· · · ·Q.· · · Correct.
   15· · · ·A.· · · We had no -- we weren't aware that he
   16· ·was in there at that point, so he did nothing.
   17· · · ·Q.· · · Okay.· And do you think there was
   18· ·sufficient time between the announcement and when
   19· ·the side window's broken to allow Mr. Williams to
   20· ·get up and walk to the front door to allow the
   21· ·officers admittance, including yourself?
   22· · · ·A.· · · It might have.· But he could also call
   23· ·out.· So it doesn't take very long, if you're laying
   24· ·there, to say, Hey -- you know, to say anything in
   25· ·there.· Hey, I'm in here.· Who are you?


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   ·1· · · · · · · ·There was nothing of any of that.
   ·2· · · · · · · ·And like I said before, somebody else
   ·3· ·came out and approached before we went in there that
   ·4· ·got -- they came out and had enough time to come to
   ·5· ·their door or stick their head out.
   ·6· · · ·Q.· · · But they weren't inside the apartment
   ·7· ·like Mr. Williams was; correct?
   ·8· · · ·A.· · · Yeah.
   ·9· · · ·Q.· · · Because you even pointed -- you even
   10· ·pointed out a little bit earlier that how it's going
   11· ·to sound and feel inside the apartment is going to
   12· ·be very different from what it is outside the
   13· ·apartment.
   14· · · ·A.· · · Yes.· It wouldn't be as loud in a
   15· ·neighboring apartment.· They are going to hear
   16· ·something going on out there, but they're not going
   17· ·to hear it as much as somebody inside there if we're
   18· ·hitting on that door and the stun stick that was
   19· ·introduced in there going off.
   20· · · ·Q.· · · And so I'm going to -- I'm going to read
   21· ·to you part of what was quoted in the CIRT report
   22· ·about a reasonable amount of time based on the items
   23· ·sought.
   24· · · · · · · ·Because we've gone over the type of
   25· ·arrest warrant.· I just want to make sure I


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   ·1· ·understand correctly -- sorry, not arrest warrant,
   ·2· ·search warrant -- that this was a search warrant for
   ·3· ·items.
   ·4· · · · · · · ·You looked at the warrant itself;
   ·5· ·correct?
   ·6· · · ·A.· · · Yes, ma'am.
   ·7· · · ·Q.· · · Because you were part of the recon team,
   ·8· ·so you knew which items were sought out?
   ·9· · · ·A.· · · Yes, ma'am.
   10· · · ·Q.· · · Based on my understanding of your prior
   11· ·testimony, you thought -- this was also kind of like
   12· ·an arrest warrant too; you thought you were going to
   13· ·find suspects and detain them.· Correct?
   14· · · ·A.· · · Yes.
   15· · · ·Q.· · · You thought that, based on what the
   16· ·homicide officers had told you, was that they didn't
   17· ·have PC for this incident, but they did have PC for
   18· ·other incidents, so they were going to be arrested;
   19· ·correct?
   20· · · ·A.· · · Yes.
   21· · · ·Q.· · · And so let's kind of parcel out that, in
   22· ·terms of just the warrant itself for the items,
   23· ·there was nothing in the warrant that you would have
   24· ·been concerned about being able to be destroyed or
   25· ·in some other way altered before entry in the unit;


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   ·1· ·correct?
   ·2· · · ·A.· · · To be honest with you -- step back on
   ·3· ·there -- one, the detectives, I'm not a hundred
   ·4· ·percent that it was a homicide detective that said
   ·5· ·they had PC.· Just because I want to be clear on I
   ·6· ·don't know a hundred percent it was a homicide
   ·7· ·detective.· It could have been a gang detective,
   ·8· ·because they were involved with the investigation
   ·9· ·there as well.
   10· · · ·Q.· · · We can just say "detective" for the
   11· ·record.
   12· · · ·A.· · · Okay.· The other was the items that were
   13· ·sought to be found, that they were looking for, I'm
   14· ·not a hundred percent, so I'd have to see that again
   15· ·to see.· But I believe it was for a small-caliber
   16· ·firearm and for clothing.
   17· · · ·Q.· · · And so I'm going to read to you some
   18· ·case law that's cited in the CIRT report, and it
   19· ·talks about the standard for what is a reasonable
   20· ·amount of time based on the items sought.
   21· · · · · · · ·What it says is, "After 15 to 20 seconds
   22· ·without a response, officers could fairly have
   23· ·suspected that Banks would flush away the cocaine if
   24· ·they remained reticent."· That's from page 133 of
   25· ·the CIRT report.


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   ·1· · · · · · · ·In this case you guys weren't trying to
   ·2· ·execute a search warrant for any items that you were
   ·3· ·concerned could be destroyed or flushed away;
   ·4· ·correct?
   ·5· · · ·A.· · · Correct.
   ·6· · · ·Q.· · · As we sit here today, do you have any
   ·7· ·knowledge or memory or any position on how long you
   ·8· ·think was between the first announcement and when
   ·9· ·entry was made into the unit?
   10· · · ·A.· · · How long it was?
   11· · · ·Q.· · · Uh-huh.
   12· · · ·A.· · · I would say six to -- I thought it was
   13· ·nine seconds whenever I viewed something before.
   14· ·But around there.
   15· · · ·Q.· · · In your professional opinion as a SWAT
   16· ·officer, do you think that that was a reasonable
   17· ·amount of time?
   18· · · ·A.· · · Based on the circumstances and what we
   19· ·were going for -- it wasn't that we were -- I
   20· ·understand that we were going for -- the search
   21· ·warrant was for property that could have been, you
   22· ·know, the evidence.· The other mitigating factors
   23· ·would have been the fact that there were known
   24· ·firearms that were associated to the residence.
   25· ·They were known to be armed.· Not only armed, but


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   ·1· ·they were known to have shot, you know, possibly
   ·2· ·from that residence in illegal shootings.· And, you
   ·3· ·know, that they used a firearm to basically fire at
   ·4· ·somebody and commit, you know, a homicide.
   ·5· · · · · · · ·So those mitigating factors I think is
   ·6· ·where part of that comes into the effect of how long
   ·7· ·it takes.
   ·8· · · · · · · ·I know, like, talking U.S. v. Banks,
   ·9· ·you're talking about somebody that was in there for
   10· ·selling drugs or whatnot and he was in the shower
   11· ·and there's -- yeah, that time might not be.
   12· · · · · · · ·But not knowing that he's in the shower,
   13· ·on a small apartment, to be honest with you,
   14· ·depending on the size of the apartment, it doesn't
   15· ·take very long at all to come and answer the door.
   16· · · · · · · ·We have people that go up -- detectives
   17· ·that go to doors, and whenever they do buys on
   18· ·targets, the person is coming to the door within
   19· ·three to five seconds a lot of times.· So that's
   20· ·somebody knocking, them coming to the door, and then
   21· ·bringing them in to sell them narcotics.
   22· · · · · · · ·So depending on the size of the
   23· ·structure, which this wasn't an overwhelmingly large
   24· ·structure.· It was a very small apartment.· So I
   25· ·guess to what you're saying, I don't know that it


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   ·1· ·was too short of an amount of time.
   ·2· · · · · · · ·I think that's subject to the mitigating
   ·3· ·factors and our articulation as far as what all is
   ·4· ·involved.
   ·5· · · · · · · ·I know typically the search warrant
   ·6· ·is -- like you're saying, it's for evidence that
   ·7· ·we're looking for.· However, the evidence that's in
   ·8· ·there is related to subjects that are known to
   ·9· ·shoot, that have firearms, and they're able to shoot
   10· ·back at us.
   11· · · ·Q.· · · So this warrant was being served like an
   12· ·arrest warrant; correct?
   13· · · ·A.· · · That somebody was in there?
   14· · · ·Q.· · · Yes.
   15· · · ·A.· · · In my mind -- like I said, I don't know
   16· ·a hundred -- my mind, they had probable cause for
   17· ·the two suspects, and we didn't know if those
   18· ·suspects were in there or they were not in there.
   19· · · · · · · ·And then there were other subjects
   20· ·involved that were known to also be affiliated, like
   21· ·gang affiliation, and known to carry firearms.
   22· · · · · · · ·So unknown on who all was going to be in
   23· ·there.· It was just a flophouse for a lot of gang
   24· ·members.
   25· · · ·Q.· · · But this warrant was being served like


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   ·1· ·an arrest warrant; correct?
   ·2· · · ·A.· · · Yes.
   ·3· · · ·Q.· · · And if I understand your dialogue
   ·4· ·before, it's your position that six to nine seconds
   ·5· ·was a reasonable amount of time; correct?
   ·6· · · ·A.· · · For that size of a structure, I would
   ·7· ·say.
   ·8· · · ·Q.· · · Okay.· So that's a yes?
   ·9· · · ·A.· · · Yes.
   10· · · ·Q.· · · Okay.· Prior to serving the search
   11· ·warrant, had you received any training about what
   12· ·elements you had to comply with under both U.S. law
   13· ·and Nevada law for a proper knock-and-announce
   14· ·entry?
   15· · · ·A.· · · What requirements?
   16· · · ·Q.· · · Yes.
   17· · · ·A.· · · We give out two full announcements, and
   18· ·it's an articulated amount of time, a reasonable
   19· ·amount of time for somebody to come to the door --
   20· · · ·Q.· · · Okay.· And -- sorry.
   21· · · ·A.· · · -- or refusal.· Unless that person --
   22· ·unless somebody basically comes out and they refuse
   23· ·by running back in.· You know, they see the door,
   24· ·they open the door, they close the door, and they
   25· ·refuse.· At that time it's a refusal.


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   ·1· · · ·Q.· · · So is it your position that, based on
   ·2· ·your training leading up to this incident on
   ·3· ·January 10, 2022, that two what you would call "full
   ·4· ·announcements" meets the standard for the elements
   ·5· ·for knock-and-announce?
   ·6· · · ·A.· · · The two full announcements and then the
   ·7· ·amount of time it took after that, after the
   ·8· ·announcements.
   ·9· · · ·Q.· · · Well, what if there's no amount of time?
   10· ·Do you think that two full announcements is
   11· ·sufficient?
   12· · · ·A.· · · If that time was adequate for the size
   13· ·of the structure and everything that was going on,
   14· ·two full announcements and then making entry,
   15· ·there's -- we're also not making -- those
   16· ·announcements continue to go on.· So even after
   17· ·those first two announcements, it's not two full
   18· ·announcements and then everything is stopped at that
   19· ·point.· We're still continuing to make
   20· ·announcements:· "Police department, search warrant;
   21· ·police department, search warrant."
   22· · · · · · · ·Everybody even up until that point that
   23· ·that door was opened -- which that's where I think I
   24· ·said it was six seconds to possibly nine seconds.                                      I
   25· ·think the door came open, possibly might have


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   ·1· ·been -- and I'd have to review again to see a
   ·2· ·hundred percent, but I believe that whenever the
   ·3· ·door actually opened was around nine seconds,
   ·4· ·because it was six seconds for the starting of that
   ·5· ·and then nine seconds for the door to open, and at
   ·6· ·that time we're still giving announcements.· I'm
   ·7· ·giving an announcement before I walk through the
   ·8· ·door.· Everybody else in the line is giving
   ·9· ·announcements, the same thing.· And as we're going
   10· ·in, we're still giving those announcements.
   11· · · ·Q.· · · And so let me ask the question a little
   12· ·bit differently then.
   13· · · · · · · ·Prior to the search warrant, what
   14· ·training had you received about what elements you
   15· ·had to comply with under U.S. and Nevada law for
   16· ·proper knock-and-announce entry?
   17· · · ·A.· · · To give our attention -- to state who we
   18· ·are, what the address was, to give our attention of
   19· ·why we're there, serving a search warrant.· We
   20· ·obviously identify ourselves, and then give a
   21· ·reasonable amount of time for somebody to answer the
   22· ·door or refuse.
   23· · · ·Q.· · · And so what was your training about what
   24· ·a reasonable amount of time was?
   25· · · · · · · ·I don't want you to walk me through what


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   ·1· ·you consider it based on the circumstances here.
   ·2· ·But what I'm asking more specifically is what
   ·3· ·training were you provided to say this is what a
   ·4· ·reasonable amount of time is?
   ·5· · · ·A.· · · Just going over the overall factors.· If
   ·6· ·the house is very large, it's going to need a little
   ·7· ·bit more time.
   ·8· · · · · · · ·When it is, what time it is, what time
   ·9· ·of the day it is.
   10· · · · · · · ·Whether -- I would say the structure,
   11· ·the size of the structure, adds a big factor of it,
   12· ·where somebody could be deep in a bedroom if it's a
   13· ·five-bedroom house, or it might be upstairs.· It
   14· ·might be a two-story residence.· It's going to take
   15· ·longer.· So you're not going to use that same amount
   16· ·of time on that as you are a one-bedroom studio
   17· ·Segal Suite or something.· That time is going to be
   18· ·a lot shorter.
   19· · · ·Q.· · · And how did you receive this training,
   20· ·Kerry?
   21· · · ·A.· · · Just through training through our TSD
   22· ·section, our training coordinators, which would have
   23· ·been senior officers that are in our division.
   24· · · ·Q.· · · And as we sit here today, do you think
   25· ·that the amount of time that the team waited before


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   ·1· ·entering the unit, do you think that was reasonable
   ·2· ·and in compliance with controlling case law?
   ·3· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   ·4· · · · · · · ·Go ahead and answer.
   ·5· · · · · · · ·THE WITNESS:· I think with what we had
   ·6· ·as far as the factors, I don't think it was too
   ·7· ·short -- you know, that it was not long enough or
   ·8· ·too short of an amount of time, just from my opinion
   ·9· ·from serving warrants.
   10· ·BY MS. MURPHY:
   11· · · ·Q.· · · So it's your opinion that the amount of
   12· ·time between the announcements and the entry into
   13· ·the unit was reasonable based on controlling law; is
   14· ·that correct?
   15· · · ·A.· · · Yes.
   16· · · · · · · ·MS. MURPHY:· Actually, before I get into
   17· ·some of the CIRT conclusions, were you placed on
   18· ·administrative leave following this incident?
   19· · · · · · · ·THE WITNESS:· I was off that time, yes,
   20· ·ma'am.
   21· ·BY MS. MURPHY:
   22· · · ·Q.· · · Okay.· How long were you off for?
   23· · · ·A.· · · I don't know exactly -- I mean, I was
   24· ·off for a year.· But I'm not aware -- because
   25· ·administrative leave, I was also off because of


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   ·1· ·injuries.· So I don't know what the parameter was
   ·2· ·where you'd be off at this time but I wasn't
   ·3· ·because --
   ·4· · · ·Q.· · · Let me ask the question a little
   ·5· ·differently.
   ·6· · · ·A.· · · I came back a year after.· Right at a
   ·7· ·year after the incident is when I came back to work.
   ·8· · · ·Q.· · · Okay.· And what is -- you kind of talked
   ·9· ·about it when you walked through it.
   10· · · · · · · ·Can you walk me through what injuries
   11· ·you sustained?
   12· · · ·A.· · · Yes.· I took a gunshot wound to my left
   13· ·arm, the middle of my forearm, which shattered the
   14· ·radius bone on my arm.· That came out the top of my
   15· ·arm, which tore all the tendons -- dislocated or
   16· ·tore all the tendons that were in that arm.
   17· · · · · · · ·And then the right arm I was shot, which
   18· ·was probably about 6 to 8 inches down from my wrist.
   19· ·That round entered my arm, and it traveled up my arm
   20· ·to the rear of my tricep, the upper of my tricep.
   21· ·That one caused just a lot of -- I know it caused a
   22· ·lot of nerve damage going up that far, and the
   23· ·swelling was obviously, like, enormous because of it
   24· ·going up there.· That bullet stayed lodged in the
   25· ·back of my arm.


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   ·1· · · · · · · ·The bullet that was in this arm
   ·2· ·(indicating), part of it is still lodged in -- it
   ·3· ·could be all of it.· I don't know.· Just from an
   ·4· ·X-ray, you can see that the round is still inside
   ·5· ·there.
   ·6· · · · · · · ·I took a round that was through my inner
   ·7· ·thigh, just -- I don't know how far down that is.
   ·8· ·But my inner thigh, it entered there, and it came
   ·9· ·out the outer of that leg, which caused damage to
   10· ·muscle and tendons that were in there.· But it went
   11· ·through there.· That came out the outside of my leg,
   12· ·which ultimately hit my firearm holster, and it also
   13· ·came -- I think because there was a wallet in my
   14· ·pocket, like a metal money clip, and the bullet
   15· ·went, it hit that and went through it.· So whenever
   16· ·it hit that, it basically shrap -- basically the
   17· ·bullet broke up into pieces, so there's a lot of
   18· ·pieces that are still inside there in my hip and leg
   19· ·area that are small fragments that they can't go in
   20· ·there -- it would cause more damage to try and go in
   21· ·there and fish them out.
   22· · · · · · · ·Same with the left arm.
   23· · · · · · · ·The right arm they were able to go in
   24· ·through the back of my tricep like six months or so
   25· ·after that and make an incision, because it was


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   ·1· ·close enough to the surface to make an incision to
   ·2· ·extract that.
   ·3· · · · · · · ·I was hit once in the chest, which was
   ·4· ·probably a couple inches above the middle of my
   ·5· ·chest, on the left side, but that was stopped by my
   ·6· ·ballistic vest.
   ·7· · · · · · · ·I was hit on my left side, where I had a
   ·8· ·knife that was in a holster that was on there, and
   ·9· ·that hit off my vest and hit the holster and the
   10· ·knife and broke the knife, which was just in the
   11· ·threshold of the door, after -- at least whenever I
   12· ·was walking out, whenever we were going out, I
   13· ·remember seeing it on the ground there in the
   14· ·doorway.· And pictures afterwards from the CI that
   15· ·came out there to take all the photographs, I seen
   16· ·it laying there.· It was actually hit and broke in
   17· ·half.
   18· · · · · · · ·Then I had a round that hit the front of
   19· ·my rifle, the very tip of my rifle.· It hit straight
   20· ·on with that and indented that.· Didn't cause it to
   21· ·break, but it indented -- you can see where it
   22· ·indented the front of that from deflecting off the
   23· ·very front of my rifle.
   24· · · · · · · ·Those were the ones that I had from
   25· ·there.


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   ·1· · · · · · · ·So I have a lot of nerve damage.
   ·2· ·Obviously they connected all the tendons back
   ·3· ·together on this arm, on the left arm.
   ·4· · · · · · · ·Bone, there's a rod, titanium rod,
   ·5· ·that's in there from my wrist to my forearm crease,
   ·6· ·which is -- I think it's around 9 inches, something
   ·7· ·like that.· So that's in there for the radius.
   ·8· · · · · · · ·And then the right arm has significant
   ·9· ·amount of nerve damage.· I lost the use of my -- not
   10· ·the use, but my index finger has no -- I would say
   11· ·no feeling.· I could stick it on a stove right now,
   12· ·and I wouldn't -- I think there's a superhero that
   13· ·had that, or some people have that.· But I've burned
   14· ·it multiple times not knowing.· Just later in the
   15· ·evening I'll find it's got a big huge ball on there
   16· ·because I blistered it because I set it on something
   17· ·too hot.· So there's no feeling in this finger
   18· ·(indicating).· It's kind of dead.· Like, smack it
   19· ·with a hammer, it doesn't -- and it doesn't -- and
   20· ·the way the tendon is, it doesn't operate -- like, I
   21· ·can't make a complete fist with it.
   22· · · · · · · ·So due to that fact, I primarily
   23· ·switched hands to my left hand to be able to operate
   24· ·with that hand as my primary firearm with my pistol.
   25· · · · · · · ·I can still shoot with this hand, but I


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   ·1· ·can't use my index finger.· I use my middle finger.
   ·2· ·So I can still shoot my rifle with my middle finger.
   ·3· ·I can shoot with my left hand as well, but I just
   ·4· ·transitioned my primary firearm to my left hand.
   ·5· · · · · · · ·Those are pretty much -- a lot of nerve
   ·6· ·damage.
   ·7· · · · · · · ·Hip area, same thing.· A lot of -- I
   ·8· ·don't know if it's like a type of an arthritis or
   ·9· ·nerve injury stuff, but same thing.· Like, that -- I
   10· ·guess it's -- hard to explain nerve damage, but it's
   11· ·like an electric burn.· So, like, my leg feels -- my
   12· ·thigh just feels sunburnt all the time, like a
   13· ·burning -- burning feeling.
   14· · · · · · · ·Both arms are the same way.
   15· · · · · · · ·These two -- my index finger and my
   16· ·middle finger and my thumb, same thing.· Those burn
   17· ·all the time.· There's no -- and there's slight --
   18· ·not as much as the middle finger.· I can still feel
   19· ·on these.· But it's very -- it's almost like if you
   20· ·wake up and your arm is asleep, it's got that
   21· ·feeling on the other fingers.· That's always there.
   22· ·It never goes away.
   23· · · ·Q.· · · How many times were you shot?
   24· · · ·A.· · · Technically, a total, I guess, six times
   25· ·I was hit.· Whether it be me, the tip of my rifle,


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   ·1· ·that was six times that I was hit.
   ·2· · · ·Q.· · · How many times was your body hit?
   ·3· · · ·A.· · · My body was it -- well, three that
   ·4· ·entered.· I had one that was in my chest, but that
   ·5· ·didn't enter.· But I had three that entered.· One
   ·6· ·through this arm, one through this arm, and then one
   ·7· ·through my leg (indicating).
   ·8· · · ·Q.· · · Okay.· And did you -- have you received
   ·9· ·any psychological or mental health treatment related
   10· ·to this incident?
   11· · · ·A.· · · Oh, yeah.· For the full year or whatever
   12· ·I was off, yeah.· I was seen --
   13· · · ·Q.· · · Are you still -- sorry.
   14· · · ·A.· · · -- immediately.
   15· · · · · · · ·No, go ahead.
   16· · · ·Q.· · · Are you still undergoing any of that?
   17· · · ·A.· · · No.· I still have the ability to.                                   I
   18· ·just don't really find -- I haven't had anything
   19· ·that's came up that I need to see anybody about or
   20· ·talk to about.· So ...
   21· · · ·Q.· · · Okay.· And then is it your position that
   22· ·you believe that Mr. Williams knew he was firing on
   23· ·police officers?
   24· · · ·A.· · · I don't know what his thoughts were.
   25· · · · · · · ·I mean, we were -- everybody that was


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   ·1· ·there was yelling, "Police department, search
   ·2· ·warrant."
   ·3· · · · · · · ·I had -- you know, my ballistic vest has
   ·4· ·"Police" and "SWAT" patches on the front.· It's got
   ·5· ·a "Police SWAT" patch on the shoulder.· We have a
   ·6· ·helmet.· We stand out pretty well, I would say, with
   ·7· ·the gear that we wear.
   ·8· · · · · · · ·And, again, like I said, we were --
   ·9· ·everybody that was coming in that door -- I'm sure
   10· ·pretty much everybody, because that's normally how
   11· ·we train -- we yell out "Police department, search
   12· ·warrant" before we make entry into the front door or
   13· ·other doors going into other rooms back in the
   14· ·residence.
   15· · · ·Q.· · · To confirm, though -- and I appreciate
   16· ·that you've made that distinction.
   17· · · · · · · ·To confirm, as you sit here today,
   18· ·you're saying, Hey, I don't know if he knew or not;
   19· ·that would be speculation on my part?
   20· · · ·A.· · · I have no idea what his thought process
   21· ·was, other than that whenever he was shooting, he
   22· ·was -- he didn't stop shooting.· He kept shooting
   23· ·until, you know, he was stopped.
   24· · · ·Q.· · · Until he was dead; correct?
   25· · · ·A.· · · But he didn't stop shooting.· He shot


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   ·1· ·rounds through the wall, through the ceiling, to the
   ·2· ·upstairs apartment, through the -- both walls, and
   ·3· ·just continued to shoot.· So -- and it was a -- you
   ·4· ·know, continual shots going off.· So it wasn't
   ·5· ·something that he stopped.
   ·6· · · ·Q.· · · He wasn't, like, a marksman; right?
   ·7· ·Like even how you're describing it, it's a spray of
   ·8· ·bullets; correct?
   ·9· · · ·A.· · · No, he doesn't -- well, obviously, I
   10· ·mean, most people in that -- they're not accountable
   11· ·for where their rounds are going.· So disregard for
   12· ·anybody that's in the, you know, apartment that's
   13· ·neighboring or the apartment upstairs.· Which I know
   14· ·rounds went through both walls, that wall, the
   15· ·ceiling, up into the neighboring apartment.
   16· · · · · · · ·But there was no -- it was just a
   17· ·continual shots going off.
   18· · · · · · · ·But I can't attest to what his thinking
   19· ·was other than, you know, he was -- he might have
   20· ·been thinking that he's just going out with a fight,
   21· ·or he might have -- I don't know.
   22· · · ·Q.· · · Been confused and not know who was
   23· ·coming through the door; correct?
   24· · · ·A.· · · I have no idea of what his capacity was.
   25· ·He could be blind or deaf for all I'm aware of.                                     I


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   ·1· ·have no idea.
   ·2· · · ·Q.· · · And so that's actually an interesting
   ·3· ·point.· I'd like to ask you about that.
   ·4· · · · · · · ·As we sit here today, do you have any
   ·5· ·knowledge of who Mr. Williams is, or was?
   ·6· · · ·A.· · · Leading up to, no.
   ·7· · · ·Q.· · · Not leading up to the incident.
   ·8· · · · · · · ·Like, so since the incident have you
   ·9· ·come to learn anything about Mr. Williams?
   10· · · ·A.· · · No.· I don't dig into people.                                I
   11· ·don't -- it's not in my -- you know, I'm not going
   12· ·to look into or dig into anything.
   13· · · · · · · ·I knew what it was at that time.· And --
   14· ·I don't know.· I'm just not -- there's nothing for
   15· ·me to dig into --
   16· · · ·Q.· · · Okay.· Let me ask it a little bit
   17· ·differently.
   18· · · · · · · ·As we sit here today, do you have any
   19· ·knowledge about whether Mr. Williams was or wasn't
   20· ·associated with the crimes that were associated with
   21· ·these search warrants?
   22· · · ·A.· · · To be honest, I have no idea.
   23· · · ·Q.· · · So you have no idea at all?
   24· · · ·A.· · · No.
   25· · · ·Q.· · · Okay.· Have you been involved in any


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   ·1· ·other officer-involved shootings?
   ·2· · · ·A.· · · Not as a shooter, no, ma'am.
   ·3· · · ·Q.· · · How have you been involved?
   ·4· · · ·A.· · · Like, witness officer.· I mean, we've
   ·5· ·been in other shootings.· As a witness officer,
   ·6· ·where I was on-scene.· I didn't shoot, but I
   ·7· ·witnessed, you know, whenever somebody was shot.
   ·8· · · ·Q.· · · And what were those other incidents?
   ·9· · · ·A.· · · We've had a few.· We had one that was a
   10· ·hostage rescue, a vehicle hostage rescue, where one
   11· ·of our sniper units ended up shooting.· That was --
   12· ·I can't give you the exact timeline.· It was
   13· ·probably a year or so ago or a couple of years ago.
   14· · · ·Q.· · · So was it before or after this incident?
   15· ·Because we're -- what are we?· Two years out?
   16· · · ·A.· · · Yeah.· You know, I'm not a hundred
   17· ·percent on that, to be honest with you.· I think it
   18· ·was after.· I think it was after.· I think the last
   19· ·one was after that, after the incident.
   20· · · · · · · ·We had one, same thing, in Laughlin,
   21· ·where, you know, incident officer -- I didn't shoot,
   22· ·but I was right there, where there was a guy that
   23· ·basically shot at security in Laughlin, robbed a
   24· ·casino, shot at officers, was in a barricade in the
   25· ·vehicle.


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   ·1· · · · · · · ·We were out there.· He came running
   ·2· ·towards us, and officers shot that were literally,
   ·3· ·like, right in front of me and to the side of me,
   ·4· ·and a sniper ultimately took a shot as well that
   ·5· ·stopped him.
   ·6· · · · · · · ·But there were officers in front of me.
   ·7· ·I had no shot because of where they were located at.
   ·8· · · · · · · ·I don't know.· There's multiple times
   ·9· ·where I witnessed somebody or, you know, been there.
   10· ·Not where I've actually fired, though.
   11· · · ·Q.· · · Have you been named in any other
   12· ·lawsuits?
   13· · · ·A.· · · No, ma'am.
   14· · · ·Q.· · · Okay.· Did you receive any retraining
   15· ·following this incident?· Related to this incident.
   16· ·I'm sure you've had training since this incident.
   17· ·But related to this incident have you received any
   18· ·retraining?
   19· · · ·A.· · · Yeah, I received training.· We receive
   20· ·training all the time.· But I received -- coming
   21· ·back I received training.· After the interview we go
   22· ·through a training process and we run through
   23· ·different scenarios.· Some are based somewhat the
   24· ·same.· Like, I don't know what they are.· They run
   25· ·me through scenarios before I, you know, come back


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   ·1· ·to work basically.· So they'd run me through
   ·2· ·scenarios before I came back.· And then continuing
   ·3· ·from then, you know, we train all the time.
   ·4· · · · · · · ·So I couldn't tell you exactly this
   ·5· ·training's for this incident or is not for this
   ·6· ·incident.· I know that after the incident, whenever
   ·7· ·I came back, those were specifically -- not every
   ·8· ·one of them, but some of them were related the same
   ·9· ·way.· You know, related.· Kind of like the same.
   10· ·Obviously it wasn't completely reenacted, but that
   11· ·kind of enactment there is kind of the training we
   12· ·do on a day-to-day basis.
   13· · · ·Q.· · · Okay.· And I'm going to review some of
   14· ·the CIRT conclusions, and I want to ask your
   15· ·opinions about them.
   16· · · · · · · ·In terms of listing off the unknown
   17· ·factors related to the Nellis apartment, they
   18· ·included who was actually staying at the apartment;
   19· ·if there were children, elderly, or vulnerable
   20· ·individuals present inside the apartment.
   21· · · · · · · ·Were you able to -- you were able to
   22· ·identify those items related to the Jimmy Durante
   23· ·apartment; correct?
   24· · · ·A.· · · Who was in there?
   25· · · ·Q.· · · Yeah.


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   ·1· · · ·A.· · · I don't know who was in there.· I can't
   ·2· ·confirm that this is --
   ·3· · · ·Q.· · · Sorry.· Let me ask it a little bit
   ·4· ·differently then.
   ·5· · · · · · · ·In terms of your recon -- not the Nellis
   ·6· ·apartment, but the Jimmy Durante apartment, the one
   ·7· ·you were tasked with doing recon on -- you were able
   ·8· ·to identify whether there were children, elderly, or
   ·9· ·vulnerable individuals within the apartment;
   10· ·correct?
   11· · · ·A.· · · I could go off what I seen at that time.
   12· ·So the time that I had out there, yes, I could
   13· ·confirm that there was a child related -- well,
   14· ·confirm that there was a child related, one, because
   15· ·there was children-type toy stuff that was directly
   16· ·in front of that, like bicycles and stuff like that,
   17· ·that there would be a child in there.
   18· · · · · · · ·As far as the occupants in there, other
   19· ·than what we knew of as far as, like, who was
   20· ·related to that residence, I can't say a hundred
   21· ·percent, like, yeah, I know that this male, this
   22· ·female, is inside this residence or, you know, a
   23· ·hundred percent in there.
   24· · · · · · · ·And I don't think you could at any place
   25· ·really a hundred percent, unless you really had eyes


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   ·1· ·on, positively identified the suspect, and you know
   ·2· ·they're going in there and you don't lose track of
   ·3· ·that or lose sight of that until an operation was
   ·4· ·performed.
   ·5· · · ·Q.· · · Give me just one second.
   ·6· · · · · · · ·I'll read you the specific language from
   ·7· ·the CIRT conclusion.
   ·8· · · · · · · ·"While the SWAT section manual contained
   ·9· ·verbiage allowing for SWAT operators to conduct a
   10· ·CET for property when there is a threat of an armed
   11· ·and dangerous subject, it was not appropriate given
   12· ·the amount of unknowns associated with
   13· ·Apartment 1125.· There were numerous amount of
   14· ·unknown factors, to include who was actually staying
   15· ·in the apartment and if there were children,
   16· ·elderly, or vulnerable individuals present inside
   17· ·the apartment.· SWAT's decision to serve the 350
   18· ·South Nellis Boulevard search warrant as a CET was a
   19· ·policy/training failure and not within standardized
   20· ·LVMPD tactics, training, and policy."
   21· · · · · · · ·And so we looked over a little bit
   22· ·earlier the photos that were drawn out of the plan.
   23· ·And in fact in terms of elderly, children, who was
   24· ·associated with the apartment, those items were all
   25· ·written into that -- into the -- what do you call


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   ·1· ·it?
   ·2· · · ·A.· · · Information page.
   ·3· · · ·Q.· · · Information page.
   ·4· · · ·A.· · · Yes, ma'am.
   ·5· · · ·Q.· · · But, in fact, after having now reviewed
   ·6· ·everything, those were actually not known.· You
   ·7· ·understand that; right?
   ·8· · · ·A.· · · Yes.· Hundred percent.
   ·9· · · ·Q.· · · Okay.· And so do you agree or disagree
   10· ·with CIRT's conclusion that to serve the CET was a
   11· ·policy/training failure related in part to the
   12· ·amount of unknowns actually associated with this
   13· ·apartment?
   14· · · ·A.· · · It's hard to say that because I don't
   15· ·know where it says that we can't do a controlled
   16· ·entry if there's an elderly person in there or if
   17· ·there's a child in there.
   18· · · ·Q.· · · Well, and the way that I read this,
   19· ·Kerry, is a little bit different.· It wasn't just
   20· ·one of those things.· It was a variety of unknown
   21· ·factors, to the point where it becomes, like -- I
   22· ·don't know if you're familiar with appellate law.
   23· ·They talk about, like, one error by itself, even if
   24· ·it doesn't affect the outcome of the case, isn't a
   25· ·big deal.· But when you have a variety of errors,


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   ·1· ·even if they're small errors, after a while the
   ·2· ·number of small errors itself becomes voluminous and
   ·3· ·becomes its own error.
   ·4· · · · · · · ·Do you understand that concept?
   ·5· · · ·A.· · · Yes.
   ·6· · · ·Q.· · · Okay.· And so here, the way I read this,
   ·7· ·although I'm not the CIRT conclusion -- and I really
   ·8· ·am asking for your opinion -- it says -- it says
   ·9· ·specifically there were numerous amount of unknown
   10· ·factors.
   11· · · · · · · ·So it's not each individual factor on
   12· ·its own; it's that there were all these unknown
   13· ·factors.
   14· · · · · · · ·Do you have a position or an opinion on
   15· ·that?
   16· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   17· · · · · · · ·Go ahead and answer.
   18· · · · · · · ·MS. MURPHY:· That was a terrible-worded
   19· ·question.· It's a good objection.· I don't know how
   20· ·else to frame it.
   21· · · · · · · ·THE WITNESS:· I'm sorry.· I don't
   22· ·know -- like, the CIRT, whenever they're putting out
   23· ·their stuff, I don't know that they have the
   24· ·information or they knew these other factors that
   25· ·were in there as far as, like, the suspects that


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   ·1· ·were stopped from there that were coming and going.
   ·2· ·I don't know what all they had prior to that.
   ·3· ·BY MS. MURPHY:
   ·4· · · ·Q.· · · Kerry, I'll represent to you they had
   ·5· ·everything.
   ·6· · · ·A.· · · No, I understand that.· After the
   ·7· ·incident was -- after the incident took place and
   ·8· ·everything, they had all that.
   ·9· · · · · · · ·But I'm aware that they -- you know, if
   10· ·they said that was a policy failure and that is --
   11· ·you know, we need more than that, then that's what
   12· ·it is.· We're going to have to add those.
   13· · · ·Q.· · · Okay.· And I guess I'm asking, what's
   14· ·your opinion on that?· Do you agree or disagree?
   15· · · ·A.· · · I think a lot of factors can change that
   16· ·to where you wouldn't need all of those factors
   17· ·listed for a controlled entry.
   18· · · · · · · ·If we had a homicide suspect or whatever
   19· ·the case was, we had that suspect that was in a
   20· ·place and we didn't know all this, you know,
   21· ·different pertinent information that was related to
   22· ·that, I guess that's where it comes down to I think
   23· ·that we definitely need more -- like I said
   24· ·before -- I don't want to say seat time again, but
   25· ·something the detectives probably need to follow up


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   ·1· ·more on as far as on their investigation to be able
   ·2· ·to list that stuff to say, Hey, we have this, that.
   ·3· · · · · · · ·Which is kind of what we do now.· We
   ·4· ·have -- if they don't have seat time out there, if
   ·5· ·they don't have certain things that are locked in
   ·6· ·place that, Hey, we know that this person comes and
   ·7· ·goes.· He's been seen in here -- a lot of times
   ·8· ·we'll know, Hey, we have him in there right now.
   ·9· ·He's in there.· We have a positive ID on him.· We
   10· ·seen him enter.· We've had the place, you know,
   11· ·under surveillance, and they're doing the search
   12· ·warrant at that time.· Those I think are the things
   13· ·that we've changed as far as, you know, making sure
   14· ·that all that stuff is done and not just, you know,
   15· ·pushed up on other -- doing a warrant, especially
   16· ·due to the fact this was a CET.· So that wouldn't be
   17· ·done again from that.
   18· · · ·Q.· · · And so how it's done today is different
   19· ·than how it was done at this point in time back in
   20· ·2022; right?
   21· · · ·A.· · · Yes.· I'd say that we're much more
   22· ·thorough in vetting that and pushing back on units
   23· ·to have that stuff done.· If they don't have
   24· ·something in there, then we push it back.· Hey, you
   25· ·need to get this.· You need more time out there.


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   ·1· ·You need a PID.· You might need to do a phone pin.
   ·2· ·There's different things that we might push back.
   ·3· · · · · · · ·Not that I'd push back.· That's above my
   ·4· ·pay grade.· But I know that we do vet that stuff a
   ·5· ·lot more now.
   ·6· · · ·Q.· · · And to your knowledge is that change in
   ·7· ·how it's vetted, is that related in part or at all
   ·8· ·to this incident?
   ·9· · · ·A.· · · I'm sure part of it is, yes.
   10· · · ·Q.· · · Okay.
   11· · · ·A.· · · That, and I think the overall -- the
   12· ·world, the way everything's going now, it's not --
   13· ·everything is getting pushed back as far as some of
   14· ·that stuff, where we're not doing the same things.
   15· · · ·Q.· · · And I'm going to ask you about
   16· ·Conclusion 3.8, just part of it.· I'll read it to
   17· ·you.
   18· · · · · · · ·"CIRT found that under the conditions
   19· ·present here, six seconds was insufficient to allow
   20· ·occupants time to answer the door, let alone submit
   21· ·to the search."
   22· · · · · · · ·Do you have any position on that
   23· ·statement?
   24· · · ·A.· · · Nah.· If that's what they found, that's
   25· ·what they're assigned to do, and that's what they


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   ·1· ·found in their mind, it was not sufficient.· So I
   ·2· ·don't have anything.
   ·3· · · ·Q.· · · And then it goes on to say,
   ·4· ·"Additionally, deployment of the CET contradicted
   ·5· ·the knock-and-announce principles.· The CET is
   ·6· ·intended in part to surprise and overwhelm occupants
   ·7· ·inside the residence.· Yet, the intent of
   ·8· ·knock-and-announce is to provide an opportunity to
   ·9· ·comply before a forced entry is made; thus, is a
   10· ·policy and training failure and not within LVMPD
   11· ·standards."
   12· · · · · · · ·I asked you about it a little bit
   13· ·before, but I'm going to ask you about it now more
   14· ·specifically.
   15· · · · · · · ·Do you have an opinion on CIRT's
   16· ·conclusion that CET contradicts knock-and-announce
   17· ·principles?
   18· · · ·A.· · · I think it -- depending on the timeline
   19· ·that's there, I wouldn't say that it contradicts it.
   20· ·But depending on the timeline and what the
   21· ·articulable facts are there, I think that what
   22· ·they're going with is a no-knock warrant -- you
   23· ·know, if we did a no-knock warrant on that, then
   24· ·that would bypass the whole thing.· So --
   25· · · ·Q.· · · Absolutely.· But they didn't go through


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   ·1· ·the steps of getting a no-knock warrant here, did
   ·2· ·they?
   ·3· · · ·A.· · · No, they did not.· No.
   ·4· · · ·Q.· · · Okay.· And you agree, though, that CET
   ·5· ·is intended in part to surprise and overwhelm
   ·6· ·occupants inside the residence; correct?
   ·7· · · ·A.· · · Yes, ma'am.
   ·8· · · ·Q.· · · Okay.· And you agree too that the
   ·9· ·purpose, though, of knock-and-announce is to allow
   10· ·somebody the opportunity to comply before forced
   11· ·entry is made; correct?
   12· · · ·A.· · · Yes, ma'am.
   13· · · ·Q.· · · And do you understand and see the
   14· ·contradiction between surprise and overwhelm and
   15· ·allow opportunity to comply?
   16· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   17· · · · · · · ·Go ahead.
   18· · · · · · · ·THE WITNESS:· Yes.· I see that there's a
   19· ·difference of somebody not coming up to comply.· But
   20· ·complying can be different than coming to the door
   21· ·and answering the door.
   22· · · · · · · ·We've done CET warrants.· I've done
   23· ·hundreds of them.· And I've went into a residence
   24· ·where there's a guy with a gun sitting on his lap
   25· ·and his hands are up, put his hands behind his head.


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   ·1· · · · · · · ·He obviously didn't come to the door and
   ·2· ·answer the door.· But he was armed, he was sitting
   ·3· ·there, and we made a controlled entry tactic on
   ·4· ·that, and we went in.· That's happened numerous
   ·5· ·times.
   ·6· · · · · · · ·Sitting on the coffee table there's a
   ·7· ·firearm.· On their lap is a firearm.· In the seat
   ·8· ·cushion next to them.· But -- I've taken people into
   ·9· ·custody that had a firearm in their hand.· They
   10· ·weren't pointing it at us, but they had it in their
   11· ·hand.
   12· · · · · · · ·So I think that they are still -- at
   13· ·that point they're still complying; they're just
   14· ·caught, overwhelmed.· But they're caught there, and
   15· ·they're still complying with us stating we're the
   16· ·police and we're there serving a search warrant.
   17· ·BY MS. MURPHY:
   18· · · ·Q.· · · I'm going to read you from 3.9, part of
   19· ·it.
   20· · · · · · · ·"Officers immediately lost the elements
   21· ·of a CET of utilizing speed to surprise and
   22· ·overwhelm the suspect per their manual by being
   23· ·stuck at the door and hitting it multiple times
   24· ·prior to entering the residence."
   25· · · · · · · ·Do you think that -- do you agree or


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   ·1· ·disagree with that statement?
   ·2· · · ·A.· · · Well, it's hard to -- I mean, it's hard
   ·3· ·to -- I don't think that we were stuck there overly
   ·4· ·long or for too long.
   ·5· · · ·Q.· · · So is it fair for me to say then that
   ·6· ·you disagree with that conclusion?
   ·7· · · ·A.· · · Well, it kind of goes back and forth.
   ·8· ·Because you have one turn they're saying we're out
   ·9· ·there -- we're not giving enough time, but on the
   10· ·other hand we're going too fast.· So what is it?
   11· ·Are they saying that those knocks on the door, those
   12· ·are breaches because we haven't opened the door yet?
   13· ·Or are we able to go up there and hit that ram 15
   14· ·times on the door and then they're going to say,
   15· ·Well, that's too long?
   16· · · · · · · ·Well, it took 15 seconds to hit the
   17· ·thing 15 times.· We didn't open it, but we opened it
   18· ·on that 15th time.· That would give more time.· But
   19· ·did that leave us out of there?
   20· · · · · · · ·My mind was -- to that fact as far as
   21· ·having that time on our side still was because we
   22· ·were still -- distracts were still going off at that
   23· ·time, and I thought that we were still providing
   24· ·that diversion out there.
   25· · · · · · · ·Now, if those distracts weren't going


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   ·1· ·off and they were just hitting that door and hitting
   ·2· ·the door and hitting the door and there was nothing
   ·3· ·else going on that would have been able to do that,
   ·4· ·I would say, yeah, that might have been a time to
   ·5· ·shut it down at that point.
   ·6· · · ·Q.· · · Do you think that Mr. Williams'
   ·7· ·constitutional rights were violated?
   ·8· · · · · · · ·MR. ANDERSON:· Objection to form.
   ·9· · · · · · · ·Go ahead and answer.
   10· · · · · · · ·THE WITNESS:· No, I do not, ma'am.                                    I
   11· ·received multiple gunshots before anybody even fired
   12· ·on him.· So I don't know that we acted in a way --
   13· ·that we acted on him other than that.
   14· ·BY MS. MURPHY:
   15· · · ·Q.· · · And then in terms of the recommendation,
   16· ·we talked about it quite a bit, but I'll just kind
   17· ·of -- I'll close the loop.
   18· · · · · · · ·From the CIRT report, Conclusion 9.6, it
   19· ·was a recommendation that CET to only be used when a
   20· ·no-knock search warrant is approved by the LVMPD and
   21· ·has judicial preapproval.
   22· · · · · · · ·As we sit here today you understand that
   23· ·that has been a policy change related to this
   24· ·incident; correct?
   25· · · ·A.· · · Yes, ma'am.


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   ·1· · · ·Q.· · · Okay.· Do you think anything could have
   ·2· ·been done differently here?
   ·3· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   ·4· · · · · · · ·Go ahead and answer.
   ·5· · · · · · · ·THE WITNESS:· I mean, a lot of things
   ·6· ·could have been done differently.· I don't disagree
   ·7· ·with the plan of conducting a controlled entry on
   ·8· ·this residence due to the factors.· So I don't think
   ·9· ·that could have been changed as far as that.
   10· ·BY MS. MURPHY:
   11· · · ·Q.· · · Well, to be clear, LVMPD disagrees with
   12· ·you, because they have in fact changed the policy.
   13· ·You understand that; right?
   14· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   15· · · · · · · ·THE WITNESS:· Yes.
   16· ·BY MS. MURPHY:
   17· · · ·Q.· · · But as we're sitting here today, it's
   18· ·your testimony that you would not have done anything
   19· ·differently; correct?
   20· · · ·A.· · · I mean, we could have done a lot of
   21· ·things differently.· You know, hindsight, we could
   22· ·have done a lot of things, after the fact.
   23· · · · · · · ·But during that time -- I mean, we could
   24· ·have tried to do a surround and callout on there,
   25· ·and somebody might have came out, and they might


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   ·1· ·have done something.· However, somebody could have
   ·2· ·came out and went into a neighboring apartment and
   ·3· ·caused an issue or we could have hurt a citizen by
   ·4· ·doing that.
   ·5· · · ·Q.· · · Today you would have to do a surround
   ·6· ·and callout; correct?
   ·7· · · ·A.· · · No.· They could have applied for a
   ·8· ·no-knock warrant.
   ·9· · · ·Q.· · · Sorry.· Okay, correct.
   10· · · · · · · ·If taking the hypothesis that it was a
   11· ·knock-and-announce, you would have to do a surround
   12· ·and callout; correct?
   13· · · ·A.· · · I can't speak because I don't make those
   14· ·decisions.· But I think today, if this warrant came
   15· ·in and they had all the seat time and everything was
   16· ·in there, that they would go for a no-knock warrant,
   17· ·and we would go that route to serve the warrant.
   18· · · · · · · ·That's on this circumstance.· That's
   19· ·what I am --
   20· · · ·Q.· · · No problem.· So that's a really fair
   21· ·answer.· I'm going to close the loop on that as
   22· ·well.
   23· · · · · · · ·When I asked you if you would do
   24· ·anything differently, your answer then is, Hey, I
   25· ·think this should have been a no-knock warrant.· Is


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   ·1· ·that fair to say?
   ·2· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   ·3· · · · · · · ·THE WITNESS:· At this time, yes.
   ·4· ·BY MS. MURPHY:
   ·5· · · ·Q.· · · Do you consider this operation a
   ·6· ·failure?
   ·7· · · ·A.· · · Yeah, it's a failure.
   ·8· · · ·Q.· · · I know it seems like an obvious
   ·9· ·question, but I need to ask it.
   10· · · ·A.· · · Yeah.
   11· · · ·Q.· · · Why do you think it was a failure?
   12· · · ·A.· · · Well, there's the circumstances.· I'm
   13· ·living proof.· I got hurt as an officer.· Somebody
   14· ·lost their life.· Other people that were in that
   15· ·neighborhood could have lost their life.· He could
   16· ·have shot other people as well.· He was shooting
   17· ·recklessly throughout the complex, other apartments
   18· ·that were occupied at that time.· So somebody else
   19· ·could have been hurt as well.· So I believe that was
   20· ·a failure.
   21· · · · · · · ·The brass wrap on the door, things
   22· ·could have changed as far as that.· Because we might
   23· ·have -- if we knew that that brass wrap was there,
   24· ·there might have been other plans that we could have
   25· ·pushed up that might have been approved.· I can't


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   ·1· ·say a hundred percent they would have.· But we could
   ·2· ·have pushed up the fact that we could go up there
   ·3· ·quietly, we could have placed a charge on there, we
   ·4· ·could pull back, and then we could make
   ·5· ·announcements.· Then if nobody is coming to the
   ·6· ·door, we can give more time there.
   ·7· · · · · · · ·We could also place -- whenever we do
   ·8· ·those with ballistic breaches, we have trackers that
   ·9· ·we put on the wall that they'll light up if somebody
   10· ·is on the other side of the door.
   11· · · · · · · ·So with those in place, we could have
   12· ·effectively placed that charge, pulled back, gave an
   13· ·amount of time, and then moved in the door and went
   14· ·that route.
   15· · · ·Q.· · · And, Kerry, you talked a little bit
   16· ·earlier about when you're actually walking, like,
   17· ·the units and you are the one doing the recon that
   18· ·it's your habit to bring magnets and to check other
   19· ·doors.
   20· · · · · · · ·So you think -- I understand that this
   21· ·is a hypothetical question, but do you think that if
   22· ·you would have been tasked with doing the recon on
   23· ·Nellis that you would have been able -- that you
   24· ·would have figured out there was a brass wrap on the
   25· ·door prior to SWAT showing up to serve the warrant?


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   ·1· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   ·2· · · · · · · ·THE WITNESS:· I can't speculate that I
   ·3· ·would have.· If I didn't get a good look at the
   ·4· ·door, I'd probably try, if I didn't know a hundred
   ·5· ·percent, do something to go out there and try and
   ·6· ·get close enough to where I could identify something
   ·7· ·that was there.
   ·8· ·BY MS. MURPHY:
   ·9· · · ·Q.· · · Because your earlier testimony was that
   10· ·it's your practice that, if you can't get to the
   11· ·actual door -- which I understand is not advisable
   12· ·for a variety of reasons -- that you'd probably go
   13· ·look at another door in the complex; correct?
   14· · · ·A.· · · Well, I think on every recon I've done
   15· ·I've checked like doors.· So I always check the like
   16· ·door.· I check the frame, I check the door, just to
   17· ·see.· Because nine times out of ten -- a brass wrap
   18· ·is not the same, because anybody -- you can install
   19· ·one in your house in, you know, probably 15 minutes.
   20· ·So anybody can install that themselves.· It's not
   21· ·something that's standard protocol on apartments.
   22· ·But you have certain things that are.
   23· · · · · · · ·The metal doors -- and that's not a
   24· ·hundred percent, but a metal door, if it's a metal
   25· ·door and a metal frame, nine out of ten every door


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   ·1· ·in there is going to be metal on metal.· You're
   ·2· ·going to know that by checking those.
   ·3· · · · · · · ·There might be somebody that put up a
   ·4· ·dead man behind it or they might have put a brass
   ·5· ·wrap on there or did something on their own to
   ·6· ·reinforce that door.
   ·7· · · · · · · ·But that takes a lot of that out of
   ·8· ·there -- you know, I wouldn't say a hundred
   ·9· ·percent -- by not checking the actual apartment
   10· ·door, but I would have 90 percent going in knowing,
   11· ·okay, these doors are all, you know, metal.
   12· · · · · · · ·Now, if every single one that I checked
   13· ·had a brass wrap, that would change things as well.
   14· · · · · · · ·And I don't believe -- well, I can't
   15· ·attest to that.· I don't think that there was brass
   16· ·wraps on every door in there, but I'm not going to
   17· ·say a hundred percent because I didn't go and walk
   18· ·it and look at it.
   19· · · ·Q.· · · Okay.· But you don't know if the recon
   20· ·officers did a check for like doors either; correct?
   21· · · ·A.· · · To be honest, no, I don't.
   22· · · · · · · ·MS. MURPHY:· Okay.· All right.· If you
   23· ·want to give me just a minute, I'm going to go over
   24· ·my notes.· I think we might be done.
   25· · · · · · · ·THE VIDEOGRAPHER:· We are going off


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   ·1· ·record at 12:35 p.m.
   ·2· · · · · · · ·(A break was taken.)
   ·3· · · · · · · ·THE VIDEOGRAPHER:· We are back on record
   ·4· ·at 12:39 p.m.
   ·5· ·BY MS. MURPHY:
   ·6· · · ·Q.· · · Kerry, this is just to clean up the
   ·7· ·record a little bit.
   ·8· · · · · · · ·We talked about your position relative
   ·9· ·to it, and I was able to find a diagram within the
   10· ·CIRT report which kind of shows the various
   11· ·individuals.
   12· · · · · · · ·And that's --
   13· · · ·A.· · · LVMPD 04389?
   14· · · ·Q.· · · Correct.· And based on how you kind of
   15· ·described that to me before, the diagram within the
   16· ·CIRT report is consistent with how you described it;
   17· ·correct?
   18· · · · · · · ·I think you may have identified some
   19· ·different officers.· But in terms of, like, the
   20· ·actual positioning of the officers, irrespective of
   21· ·their names, that is consistent with how you kind of
   22· ·described to me the different positioning of the
   23· ·SWAT officers around the unit and the actual layout
   24· ·of the unit itself; correct?
   25· · · ·A.· · · Yes, ma'am.· There's just -- Bertuccini


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   ·1· ·is not listed, but he's over here.
   ·2· · · ·Q.· · · So I'm going to hand you a pen.
   ·3· · · ·A.· · · And somebody else is over here.
   ·4· · · ·Q.· · · I'm going to hand you this pen.· If you
   ·5· ·want to just draw in who is missing.· And we're
   ·6· ·going to make this an exhibit to the report as well,
   ·7· ·or the transcript.
   ·8· · · · · · · ·There's a couple that aren't identified.
   ·9· · · ·A.· · · That aren't identified?
   10· · · ·Q.· · · That are not identified.· They don't
   11· ·identify everybody.· Like, they've got all the
   12· ·badges to indicate police officers, but they don't
   13· ·identify all of them.
   14· · · ·A.· · · Okay.· Yeah, that's what I was looking
   15· ·for on here.
   16· · · · · · · ·I don't a hundred percent know.· He's on
   17· ·the lineup on here.· Do you still want me to put
   18· ·him?
   19· · · ·Q.· · · Yeah, go ahead.
   20· · · ·A.· · · Those are the only two I see listed that
   21· ·aren't on there.
   22· · · · · · · ·MS. MURPHY:· So we'll just mark this as
   23· ·Exhibit 3.
   24· · · · · · · ·(Exhibit 3 marked.)
   25· · · · · · · ·MS. MURPHY:· That will be an exhibit.


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   ·1· ·BY MS. MURPHY:
   ·2· · · ·Q.· · · Kerry, thank you so much for your
   ·3· ·testimony here today.· At this time I don't have any
   ·4· ·other questions except to say did I allow you the
   ·5· ·opportunity to answer all my questions?
   ·6· · · ·A.· · · Yes, ma'am.
   ·7· · · · · · · ·MS. MURPHY:· Excellent.
   ·8· · · · · · · ·MR. ANDERSON:· I have no questions.
   ·9· · · · · · · ·THE VIDEOGRAPHER:· This concludes the
   10· ·video-recorded deposition of Kerry Kubla taken on
   11· ·October 11, 2024.· We're going off the video record,
   12· ·and the time is 12:43 p.m.
   13· · · · · · · ·THE COURT REPORTER:· Do you want a copy?
   14· · · · · · · ·MR. ANDERSON:· Yes.· No video.· Waive.
   15· · · · · · · ·(Proceedings concluded at 12:44 p.m.)
   16
   17
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   ·1· · · · · · · · ·CERTIFICATE OF REPORTER

   ·2· ·STATE OF NEVADA· · ·)
   · · · · · · · · · · · · ·)SS
   ·3· ·COUNTY OF CLARK· · ·)

   ·4· · · · I, Holly Larsen, a duly certified court reporter
   · · ·licensed in and for the State of Nevada, do hereby
   ·5· ·certify:

   ·6· · · · That I reported the taking of the deposition of
   · · ·the witness, Kerry Kubla, at the time and place
   ·7· ·aforesaid;

   ·8· · · · That prior to being examined, the witness was by
   · · ·me duly sworn to testify to the truth, the whole
   ·9· ·truth, and nothing but the truth;

   10· · · · That I thereafter transcribed my shorthand notes
   · · ·into typewriting and that the typewritten transcript
   11· ·of said deposition is a complete, true, and accurate
   · · ·record of testimony provided by the witness at said
   12· ·time to the best of my ability.

   13· · · · I further certify (1) that I am not a relative or
   · · ·employee of counsel of any of the parties; nor a
   14· ·relative or employee of the parties involved in said
   · · ·action; nor a person financially interested in the
   15· ·action; nor do I have any other relationship with any
   · · ·of the parties or with counsel of any of the parties
   16· ·involved in the action that may reasonably cause my
   · · ·impartiality to be questioned; and (2) that transcript
   17· ·review pursuant to FRCP 30(e) was waived.

   18· · · · IN WITNESS HEREOF, I have hereunto set my hand in
   · · ·the County of Clark, State of Nevada, this 23rd day of
   19· ·October, 2024.

   20

   21

   22

   23
   · · · · · · · · · · · · ·____________________________
   24
   · · · · · · · · · · · · · ·HOLLY LARSEN, CCR NO. 680
   25



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